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 1 JAMIE LYNN GALLIAN
   16222 Monterey Lane Unit 376
 2 Huntington Beach, C 92649

 3 714-321-3449
   jamiegallian@gmail.com
 4
   IN PRO PER
 5

 6

 7                                 UNITED STATES BANKRUPTCY COURT
 8
                     CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 9
       In re                                              Case No. 8:21-bk-11710-ES
10
       JAMIE LYNN GALLIAN,                                Chapter 7
11
                                                          DEBTOR'S REPLY TO HOUSER BROS CO
12                       Debtor.                          OPPOSITION DEBTOR’S MOTION FOR
                                                          LEAVE FROM THE BANKRUPTCY
13                                                        APPEAL PANEL TO PERMIT THE
                                                          BANKRUPTCY COURT TO CONSIDER
14                                                        DEBTOR’S MOTION FOR
                                                          RECONSIDERATION DOC 182;
15                                                        DECLARATION OF JAMIE LYNN
                                                          GALLIAN IN SUPPORT
16

17 TO THE HONORABLE ERITHE A. SMITH, UNITED STATES BANKRUPTCY JUDGE, THE

18 DEBTOR, AND ALL INTERESTED PARTIES:

19             Debtor, Jamie Lynn Gallian files this reply to interested party Houser Bros Co Opposition

20 and Request for Hearing to Debtor's Motion for Leave from the Bankruptcy Appeal Panel to

21 Permit the Bankruptcy Court to Consider Debtor’s Motion for Reconsideration (“BK Leave

22 Motion”) filed by Jamie Lynn Gallian (“Debtor”) on August 1, 2022, as DOC 167.

23 1. Summary of Argument

24            'HEWRUILOHGD1RWLFH2I$SSHDODOC 143, UHJDUGLQJWKLV&RXUW¶VUXOLQJVXVWDLQLQJ

25 +RXVHU%URV&RREMHFWLRQWRGHEWRU V$PHQGHG6FKHGXOH&'2&FODLPLQJDKRPHVWHDG

26 H[HPSWLRQLQKHUSHUVRQDOUHVLGHQFH$Q$PHQGHG12$ZDVILOHG'2&GXHWRWKH

27 GHILFLHQF\OHWWHUGHEWRUUHFHLYHGin the U.S. MDLOWKHIROORZLQJZHHN3ULRUWRUHFHLYLQJWKH

28 'HILFLHQF\OHWWHU'HEWRUILOHGD0RWLRQIRU5HFRQVLGHUDWLRQRQ-XO\XQGHU)'53 H 
   '2&                                       1
                                   REPLY TO HOUSER OPPOSITION TO DEBTOR’S MOTION FOR LEAVE
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 1         While the NOA was pending review for docketing, (Debtor uploaded and drops all

 2 documents to be electronically filed in the "Drop Box"), Debtor filed the subject motion asking for

 3 Leave of Court leave from the Bankruptcy Appellate Panel to allow the Bankruptcy Court to

 4 consider the Motion for Reconsideration filed July 26, 2022, DOC 157, and gave Notice of Hearing

 5 set on August 18, 2022. DOC158

 6         The BAP may grant debtor a limited remand to the Bankruptcy Court to hear the MOT for

 7 Reconsideration set on August 18, 2022, to save judicial resources and cost of an appeal.

 8 2.      Factual Background
 9         A.    Bankruptcy Case
           On July 9, 2021 (“Petition Date”), Debtor filed a voluntary petition under Chapter 7 of Title
10
   11 of the United States Code. A true and correct copy of the CM/ECF docket in this case is attached
11
   to the Declaration of Jamie Lynn Gallian (“Gallian Declaration”) as Exhibit 1. The Trustee's 341
12
   meeting was initially scheduled on August 18, 2021 DOC 5. Debtor appeared and answered the
13
   Trustees questions and explained the petition was not accurate; that an Amendment to the July 9,
14
   2021 petition would beforthcoming and filed. Debtors filed her first Amendment on 9/7/21,DOC 15.
15
   On October 18, 2021, Doc 29 Trustee Golden and Debtor entered into a Stipulation
16
   extending the time including November 17, 2021, DOC 31 (ORDER) for Trustee Golden to file
17
   §§727 pleading, No §§727 pleading was filed by Trustee Golden.
18
           The Trustee noticed 341 Meetings ordering debtor to appear fourteen (14) times for
19
   continued 341 meetings. Trustee Golden abandon two (2) claims as burdensome to the estate;
20
   Trustee's Notice to Abandon Check No.00580666650, $24,301.55, February 11, 2022, DOC 60.
21
   The Order was signed entered on March 4, 2022 DOC 70. On May 2, 2022, Trustee Golden filed
22
   Notice Trustee's Intent Abandon Estates Interest ($1,000,000.00, "Creditor's Claim") in a pending
23
   OCSC Probate Case 30-2017-00915711 DOC 90. Order Authorizing Trustee's abandonment
24
   signed Honorable Erithe A Smith entered on June 1, 2022 DOC 109. On May 3, 2022, Trustee
25
   Golden filed a Notice of Assets [without] proof of service to debtor. DOC 90. On July 22, 2022,
26
   Trustee Golden Refiled Notice Of Assets and Court's Notice of Possible dividend, DOC 142.
27

28


                                                     2
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 1         On May 11, 2022, + plus 3 days for service by Mail to Debtor (In Pro Per), Trustee Jeffrey

 2 Golden filed an Application to Employ Danning, Gill, Israel & Krasnott, LLP, seeking a NUNC

 3 PRO TUNC ORDER, effective back to January 27, 2022. DOC 92. Debtor Gallian filed a timely

 4 Objection To Trustee's Application to Employ on June 1, 2022, DOC 111, which included a screen

 5 captured to the Trustee from February 2022, reminding Trustee that no Application to Employ had

 6 been filed. The Order was signed authorizing Application of Trustee to Employ Danning, Gill,

 7 Israel & Kransoff, also on June 1, 2022, DOC 108.

 8         On May 12, 2022, interested party Houser Bros. Co. dba Rancho Del Rey Mobile Home

 9 Estates (“Houser Bros.”) filed a “Motion Objecting to Debtor’s Claimed Homestead

10 Exemption” (“Homestead Motion”). DOC 95.

11         On May 13, 2022, interested party The Huntington Beach Gables Homeowners Association

12 (“HOA”) filed a “Joinder to Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates’ Motion

13 Objecting to Debtor’s Claimed Homestead Exemption” (“HOA Joinder”). DOC. 98.

14         On May 16, 2022, interested party and former HOA attorneyn Janine Jasso, Esq. ("Jasso”)

15 filed a “Joinder to Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates’ Motion Objecting

16 to Debtor’s Claimed Homestead Exemption. (“Jasso Joinder”). DOC 100. Ms. Jasso did not file

17 Reply to Debtors Reply Objection DOC 105.

18         On June 1, 2022, Debtor filed “Debtors Opposition, Memorandum of Points and Authorities

19 to Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates’ Motion Objecting to Debtor’s

20 Claimed Homestead Exemption and Joinder Parties Huntington Beach Gables HOA; Janine

21 Jasso” (“Homestead Opposition”). Docket No. 105.

22         On June 2, 2022, at 10:30 a.m. DOC 99, the Court conducted a hearing on the Homestead

23 Motion. Just minutes prior to the 10:30 a.m. hearing, the Court published a tentative ruling to

24 continue the hearing on the Homestead Motion to July 21, 2022, at 10:30 a.m. to allow Houser Bros.

25 Co., and the Joinders, to file a reply to Debtor’s Opposition DOC 105. The Court’s June 2, 2022, the

26 tentative ruling cautioned both sides that “[n]o other pleadings may be filed." DOC 99.

27

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                                                      3
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 1 On July 7, 2022, Houser Bros filed 3 "additional pleadings DOC 131, 132, 133," without leave of court

 2 or notice to debtor, disobeying the Court's June 2, 2022, Tentative Ruling, DOC 99.

 3

 4 The "additional pleadings" DOC 132, filed by interested party Houser Bros Co was seemingly a new

 5 argument, including 62 pages in length. Interest party Houser Bros Co. additionally filed a fourth

 6 Reply to Debtor's Objection on July 7, 2022, DOC 130.

 7

 8 On June 30, 2022, Chapter 7 Trustee Jeffrey I. Golden (“Trustee”) filed “Trustee’s Joinder in interesyed

 9 party Houser Bros Co Onjection to Debtor's Claimed Homestead (“Trustee Joinder”). DOC 128.

10 1)          On July 8, Debtor filed a Reply to Houser Bros Co. July 7, 2022 "unauthorized pleading" Greg
11 Buysman, Notary Public, Public Commission Number 2341449; Owner & Operator The UPS Store

12 Edinger/Springdale.” Docket No. 134.3

13

14
               On the July 21, 2022, just minutes before the Courts Clerk began calling Check in, the Court
15
     published a tentative ruling at approximately 10:37 a.m. to grant the Motion (“July 21 TR”). During the
16
     Court Clerk reading of the Court's TR, Debtor requested to be heard.
17
               On July 21, 2022, just after 11:00 a.m., the Court held a continued hearing on interested party
18
     Houser Bros Co Motion. During the hearing, the Court orally granted the Homestead Motion for the
19
     reasons stated in its tentative ruling.
20

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     3
         The Court formally considered Houser Bros Co unauthorized additional pleading(s), DOC 132, was a
28 seemingly new argument. Debtor filed a Reply to DOC 132, on 7/8/2022, DOC 134.

                                                           4
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           On July 21, 2022, prior to the Calendar of Honorable Erithe A. Smith, Debtor filed a
 1 “Notice of Lodgment of Orange County Tax Assessors [sic] Proof of Debtors [sic] Homestead

 2 Exemption Effective 2/25/2021 in Support of Opposition to Motion Objecting to Claimed

 3 Homestead Exemption” (“First NOL”). Docket No. 139.

 4         On July 21, 2021, at 2:11 p.m., Debtor filed an Amended Notice of Lodgment attaching a
 5 Certified Copy obtained from the Orange County Tax Assessors [sic] Proof of Debtors [sic]

 6 Homestead Exemption Effective 2/25/2021 in Support of Opposition to Motion Objecting to

 7 Claimed Homestead Exemption” (“Second NOL”). Docket No. 140.

 8         On July 21, 2022, Debtor filed a “Notice of Appeal and Statement of Election” (“Notice of
 9 Appeal”) regarding a “7/21/2022 Order Denying Debtors [sic] Declared Homestead and Debtors

10 [sic] Homeowners Exemption Effective February 25, 2021 with the Orange County Tax Assessor

11 Pursuant to California Department of Housing and Community Development Certificate of Title

12 Perfected February 25, 2021.” Docket No. 143. Debtor’s appeal was referred to the Bankruptcy

13 Appellate Panel (“BAP”) based on Debtor’s election, and has been assigned BAP Case No. 22-1146

14 (“BAP Appeal”). Docket No. 161. A true and correct copy of the CM/ECF Docket in the BAP

15 Appeal is attached to the Hays Declaration as Exhibit 2.

16         On July 26, 2022, Debtor filed a “Motion for Reconsideration of 7.21.22 Order Sustaining
17 Houser Bros. Co. DBA Rancho Del Rey Mobile Home Estates Objection to Debtor’s Claimed

18 Homestead Exemption and Joinder Parties Huntington Beach Gables HOA; Janine Jasso”

19 (“Reconsideration Motion”). Docket No. 157.

20         On July 28, 2022, Debtor filed an intended Amendment to correct the deficiency notes
21 “Notice of Appeal and Statement of Election” regarding a “TENTATIVE RULING 7/21/2022,

22 UPDATED 7/22/2022 5:46:01PM, HONORABLE EDITHE [sic] A. SMITH SUSTAINING

23 HOUSER BROS CO DBA RANCHO DEL REY MOBILEHOME ESTATES OBJECTION TO

24 DEBTOR’S CLAIMED AND DECLARED HOMESTEAD EXEMPTION ON FILE ORANGE

25 COUNTY TAX ASSESSOR EFFECTIVE 2/25/2021, PRIOR TO THE PETITION FOR

26 CHAPTER 7 PETITION.” Docket No. 161 (capitalization in original).

27         On August 1, 2022, Debtor filed the BK Leave Motion. Docket No. 167. Debtor’s BK
28 Leave Motion currently pending the Bankruptcy Appellate Panel decision.
                                                  5
                              IN SUPPORT TO DEBTOR’S MOTION FOR LEAVE
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 1         On August 2, 2022, Houser Bros. filed an “Optional Appellee Statement of Election to
 2 Proceed in District Court.” Docket No. 168.

 3         On August 4, 2022, Debtor filed a “Notice of Appeal and Statement of Election” intended to
 4 be an Amended NOA of DOC 143, regarding a “Ruling 7/21/2022, Bankruptcy Court sustained

 5 Interested party, Houser Bros dba Rancho Del Rey Mobilehome Estates and joinder’s objection to

 6 Debtor’s Declared Homestead and Debtor’s Homestead Election.” Docket No. 169.

 7         On August 4, 2022, Houser Bros. filed a “Response to Debtor’s Notice of and Motion for
 8 Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. DBA Rancho Del Rey Mobile Home

 9 Estate’s Objection to Debtor’s Claimed Homestead Exemption” (“Reconsideration Opposition”).

10 Docket No. 170.

11         That same day, Trustee and the HOA each filed a joinder to the Reconsideration Opposition.
12 Docket Nos. 171, 173.

13         On August 5, 2022, the Court entered an “Order Granting Houser Bros. Co. DBA Rancho
14 Del Rey Mobile Home Estates’s Motion Objecting to Debtor’s Claimed Homestead Exemption in

15 16222 Monterey Lane, Space #376, Huntington Beach, CA 92649, Docket No. 95.” Docket No. 177.

16         Counsel for Houser Bros. has informed Debtor that the pending appeal deprives the Court of
17 jurisdiction to decide her Reconsideration Motion. Counsel offered to enter a stipulation for the

18 appeal to be dismissed without prejudice and which specifically provided that Debtor’s time to

19 appeal the original order and any order on reconsideration would be 14 days from entry of the order

20 on reconsideration pursuant to FRBP 8002(b). Debtor, however, refused to enter such stipulation.

21 Hays Decl. ¶¶ 9-12 and Exs. 3-4.

22         B.      BAP Leave Motion
23         On August 2, 2022, Debtor filed in the BAP Appeal a “Notice of Motion and Motion for
24 Leave from the Bankruptcy Appellate Panel to Permit the Bankruptcy Court to Consider Debtor’s

25 Motion for Reconsideration [Doc 157] on August 18, 2022” (“BAP Leave Motion,” and together

26 with the BK Leave Motion, the “Leave Motions”). BAP Appeal Docket No. 2. The BAP Leave

27 Motion appears to be the same as the BK Leave Motion given that the Bankruptcy Court filing

28 stamp also appears at the top of the BAP Leave Motion.
                                                   6
                               IN SUPPORT TO DEBTOR’S MOTION FOR LEAVE
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 1 3.       Legal Argument
 2          A.      The Bankruptcy Court lacks jurisdiction to rule on the
 3                  Reconsideration Motion.
 4          A notice of appeal divests the district court of jurisdiction over matters related to the appeal.
 5 Coastal Delivery Corp. v. U.S. Customs Serv., 272 F.Supp.2d 958, 966-67 (C.D. Cal. 2003) (citing

 6 Smith v. Lujan, 588 F.2d 1304 (9th Cir. 1979)); see also In re Wavelength, Inc., 61 B.R. 614, 618

 7 (9th Cir. BAP 1986) (noting that the bankruptcy court did not have jurisdiction to rule on a Rule

 8 60(b) motion for reconsideration after the notice of appeal from the underlying order had been filed).

 9 In the Ninth Circuit, a district court “does not have jurisdiction at all” to act on a Rule 60(b) motion

10 once a notice of appeal has been filed. Coastal Delivery, 272 F.Supp.2d at 677. The “proper

11 procedure” is for a plaintiff to ask the district court to indicate if it wished to entertain the motion, or

12 to grant it, and then (if the plaintiff thinks it appropriate) it could move the appellate court for

13 remand of the case. Id.

14          Here, Debtor filed the Notice of Appeal regarding the Court’s decision to grant the
15 Homestead Motion on July 21, 2022. Docket No. 143. She filed the Reconsideration Motion,

16 however, five days later. Docket No. 157. Apparently, Notice of Appeal divested the Bankruptcy

17 Court of jurisdiction over matters related to the appeal, including the Reconsideration Motion.

18

19          (a) Notice to the Court Where the Appeal Is Pending.
            (b) The movant must promptly notify the clerk of the court where the appeal is
20          pending if the bankruptcy court states that it would grant the motion or that the
            motion raises a substantial issue.
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                                                         7
                                 IN SUPPORT TO DEBTOR’S MOTION FOR LEAVE
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           (c) Remand After an Indicative Ruling. If the bankruptcy court states that it would grant the
 1         motion or that the motion raises a substantial issue, the district court or BAP may remand
           for further proceedings, but it retains jurisdiction unless it expressly dismisses the appeal. If
 2         the district court or BAP remands but retains jurisdiction, the parties must promptly notify
           the clerk of that court when the bankruptcy court has decided the motion on remand.
 3

 4         Debtor wished to the Bankruptcy Court be allowed to entertain Debtor's Reconsideration
 5 Motion, or to grant it. She filed the Leave Motions, in which she prays that:

 6         [T]he Motion for an Order imposing a STAY against all creditors and Trustee Jeffrey
           Golden, any and all actions, pending actions by the Trustee Jeffrey Golden and/or any
 7         and all Creditors or Interest [sic] Parties without a Court Order from this Court upon
           proper Motion AND Notice to Debtor and an opportunity to respond, Debtors Motion
 8         for Reconsideration denying Debtors Homestead Exemption on 7/21/2022. [sic] has
           been noticed and is currently set for hearing August 18, 2022, 10:30A in Department
 9         5A of this Court. BK Leave Motion at 4; BAP Leave Motion at 4.
10          “California has a policy of great liberality in granting Leave of Court in the absence of
11 prejudice to the adverse party,” BK Leave Motion at 5, BAP Leave Motion at 5. Debtor’s

12 requested relief is appropriate.

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                               IN SUPPORT TO DEBTOR’S MOTION FOR LEAVE
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 1 Debtor’s BAP Leave Motion has not been set for hearing. The BAP Leave Motion contains blanks

 2 for the hearing date if the BAP desires a hearing on the matter. Debtor seeks a determination on the

 3 BAP Leave Motion on or before August 18, 2022,

 4 Response deadlines are determined based on the hearing date (or service date for matters filed

 5 pursuant to LBR 9013-1(o)), there effectively is no response deadline. Houser Bros. filed their

 6 Opposition in an abundance of caution and therefor Debtor responds.

 7
     4.    Conclusion
 8

 9         For the reasons stated above, debtor Jamie Lynn Gallian GRANT debtors request.
10 Further that the Bankruptcy Appellate Panel GRANT the Debtor's Leave Motion and remand

11 to the Bankruptcy Court for limited Remand.

12

13

14   DATED: August 17, 2022                 Respectfully submitted,

15                                            By:
16                                                  JAMIE LYNN GALLIAN, DEBTOR
                                                    IN PRO PER
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                                                     9
                              IN SUPPORT TO DEBTOR’S MOTION FOR LEAVE
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 1                                 Declaration of Jamie Lynn Gallian
 2          I, Jamie Lynn Gallian, say and declare as follows:
 3          1.     I am an individual over 18 years of age and competent to make this Declaration.
 4          2.     If called upon to do so, I could and would competently testify as to the facts set forth
 5 in this Declaration.

 6          3.     The facts set forth below are true of my personal knowledge.
 7          4.     I am the debtor before this before this Court.,Santa Ana Division
 8 .
            5.     I am not an attorney. I continue to represent IN PRO PER of record.
 9
            6.     I make this Declaration in support of Debtor’s Notice of Motion and Motion for Leave
10
     from the Bankruptcy Appeal Panel to Permit the Bankruptcy Court to Consider Debtor’s Motion for
11
     Re-Consideration [Doc 157] on August 18, 2022 (“Opposition”). All capitalized terms not
12
     otherwise defined in this Declaration shall have the meaning ascribed to them in the Opposition.
13
            7.     A true and correct copy of the CM/ECF Docket in this case is attached as Exhibit 1.
14
            8.     A true and correct copy of the CM/ECF Docket in the BAP Appeal is attached as
15

16 Exhibit 2.

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                                                      10
                               IN SUPPORT TO DEBTOR’S MOTION FOR LEAVE
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 1         9.    Debtor sought help from the California State Bar in locating bankruptcy specialist.

 2 Debtor was instructed to look at the list of attorneys listed as Bankruptcy Specialist on Cal Bar

 3 website.

 4         10.    Debtor contacted the second or third name on the list and hired counsel, signed a

 5 retainer agreement, and paid the agreed upon amount,

 6         11.    However, when debtor's new attorney filed a substitution into the bankruptcy case, he

 7 received a barrage of telephone calls from counsel for Houser Bros Co,, Mr. D. Edward Hays,

 8 MARSHACK HAYS, LLP,

 9         12.    At approximately 7:30 am on Monday, August 8, 2022, Attorney Hays called Ms

10 Gallian attorney and apparently discouraged the attorney from continued representation stating that

11 the funds used to retain him would be "clawed back" by the Trustee, Jeffrey Golden.

12         13.    On March 3, 2022, an Order was signed by the Bankruptcy Judge, Honorable Erithe

13 A. Smith abandoning that certain California Covid Relief Check No. 0058066665, in the amount of

14 $24,301.55, after the State Court Judge Corey Kramim Ordered Houser Bros Co. to personally

15 deliver the above check to the Chapter 7 Trustee, Jeffrey Golden. Houser Bros Co. [refused] to obey

16 the Court, and endorse the check over to the Trustee Jeffrey Golden, on January 28, 2022.

17         14.    Trustee, Jeffrey Golden, filed a Notice of Intent to Abandon Estate's Interest in

18 Debtor's Covid 10 Relief Check on February 11, 2022, DOC 60.

19         15.    On March 4, 2022, the Honroable Erithe A. Smith signed the Order Authorizing

20 Trustee's Abandonment of Estate's Interest in Debtor's Covid-19 Relief Check Motion to abandon the

21 estates interest in Check No. 0058066665, in the amount of $24,301.55.

22

23

24

25    DATED: 8/17/2022                              RESPECTFULLY SUBMITTED

26

27                                                  ____________________________
                                                   JAMIE LYNN GALLIAN
28
                                                      11
                               IN SUPPORT TO DEBTOR’S MOTION FOR LEAVE
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                                                      EXHIBIT 1
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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)

                                                                                          727OBJ, NODISCH, APLDIST, APPEAL


                                                   U.S. Bankruptcy Court
                                          Central District of California (Santa Ana)
                                          Bankruptcy Petition #: 8:21-bk-11710-ES
                                                                                                              Date filed:   07/09/2021
 Assigned to: Erithe A. Smith                                                                              341 meeting:     04/29/2022
 Chapter 7                                                                                   Deadline for filing claims:    10/25/2022
                                                                                     Deadline for filing claims (govt.):    01/05/2022
 Voluntary
                                                                                   Deadline for objecting to discharge:     10/18/2021
 Asset                                                                             Deadline for financial mgmt. course:     10/18/2021




 Debtor                                                                            represented by Jamie Lynn Gallian
 Jamie Lynn Gallian                                                                               PRO SE
 16222 Monterey Ln Unit 376
 Huntington Beach, CA 92649                                                                            Bert Briones
 ORANGE-CA                                                                                             Red Hill Law Group
 714-321-3449                                                                                          15615 Alton Parkway
 SSN / ITIN: xxx-xx-3936                                                                               Suite 210
 aka Jamie L Gallian                                                                                   Irvine, CA 92618
 dba J-Sandcastle Co, LLC                                                                              888-733-4455
 dba J-PAD, LLC                                                                                        Fax : 714-733-4450
                                                                                                       Email: bb@redhilllawgroup.com
                                                                                                       TERMINATED: 08/09/2022

 Trustee                                                                           represented by Aaron E DE Leest
 Jeffrey I Golden (TR)                                                                            Danning, Gill, Israel & Krasnoff,
 Weiland Golden Goodrich LLP                                                                      LLP
 P.O. Box 2470                                                                                    1901 Avenue of the Stars
 Costa Mesa, CA 92628-2470                                                                        Suite 450
 (714) 966-1000                                                                                   Los Angeles, CA 90067-6006
                                                                                                  310-277-0077
                                                                                                  Fax : 310-277-5735
                                                                                                  Email: adeleest@DanningGill.com

                                                                                                       Eric P Israel
                                                                                                       Danning Gill Israel & Krasnoff,
                                                                                                       LLP
                                                                                                       1901 Avenue of the Stars, Suite
                                                                                                       450
                                                                                                       Los Angeles, CA 90067-6006
                                                                                                       310-277-0077
                                                                                                       Fax : 310-277-5735
                                                                                                       Email: eisrael@DanningGill.com

 U.S. Trustee
 United States Trustee (SA)
 411 W Fourth St., Suite 7160
 Santa Ana, CA 92701-4593
 (714) 338-3400

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  1/23


                                                                                                        EXHIBIT 1, PAGE 11
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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)

     Filing Date                           #                                                    Docket Text

                                       1                      Chapter 7 Voluntary Petition for Individuals . Fee Amount $338 Filed by
   07/09/2021                          (60 pgs)               Jamie Lynn Gallian (Nguyen, Vi) (Entered: 07/09/2021)

                                       2                      Statement About Your Social Security Number (Official Form 121) Filed
   07/09/2021                                                 by Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 07/09/2021)

                                       3                      Certificate of Credit Counseling Filed by Debtor Jamie Lynn Gallian .
   07/09/2021                          (1 pg)                 (Nguyen, Vi) (Entered: 07/09/2021)

                                       4                      Declaration by Debtor as to Whether Debtor(s) Received Income From an
                                       (2 pgs)                Employer Within 60 Days of Petition (LBR Form F1002-1) Filed by
   07/09/2021                                                 Debtor Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 07/09/2021)

                                       5                      Meeting of Creditors with 341(a) meeting to be held on 8/18/2021 at 09:00
                                       (3 pgs)                AM at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS
                                                              CONTACT THE TRUSTEE. for Debtor and Joint Debtor (if joint case)
                                                              Cert. of Financial Management due by 10/18/2021. Last day to oppose
                                                              discharge or dischargeability is 10/18/2021. (Scheduled Automatic
   07/09/2021                                                 Assignment, shared account) (Entered: 07/09/2021)

                                       6                      Debtor's Request to Activate Electronic Noticing (DeBN) Filed by Debtor
   07/09/2021                                                 Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 07/09/2021)

                                                              Receipt of Chapter 7 Filing Fee - $338.00 by 16. Receipt Number
   07/09/2021                                                 80075587. (admin) (Entered: 07/09/2021)

                                       7                      BNC Certificate of Notice (RE: related document(s)5 Meeting
                                       (5 pgs)                (AutoAssign Chapter 7)) No. of Notices: 36. Notice Date 07/11/2021.
   07/11/2021                                                 (Admin.) (Entered: 07/11/2021)

                                       8                      Request for courtesy Notice of Electronic Filing (NEF) Filed by Smith,
   07/12/2021                          (1 pg)                 Valerie. (Smith, Valerie) (Entered: 07/12/2021)

                                       9                      Request for courtesy Notice of Electronic Filing (NEF) Filed by Mellor,
   07/13/2021                          (1 pg)                 Mark. (Mellor, Mark) (Entered: 07/13/2021)

                                       10                     Personal Financial Management Course Certificate for Debtor 1 (Official
   07/26/2021                          (1 pg)                 Form 423) (Lazar, Orsolya) (Entered: 07/26/2021)

                                       11                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 9/22/2021 at 01:30 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   08/18/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 08/18/2021)

                                       12                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   08/18/2021                                                 Jeffrey) (Entered: 08/18/2021)

                                       13                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Masud,
   08/23/2021                          (1 pg)                 Laila. (Masud, Laila) (Entered: 08/23/2021)

   08/23/2021                          14                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Hays, D.
                                       (1 pg)                 (Hays, D) (Entered: 08/23/2021)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  2/23


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                                       15                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (29 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Schedule H Individual:
                                                              Your Codebtors (Official Form 106H or 206H) , Amended Schedule I
                                                              Individual: Your Income (Official Form 106I) , Statement of Financial
                                                              Affairs for Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                              Statement of Intention for Individuals Filing Under Chapter 7 (Official
                                                              Form 108) , Chapter 7 Statement of Your Current Monthly Income
                                                              (Official Form 122A-1) (BNC Option) Filed by Debtor Jamie Lynn
   09/07/2021                                                 Gallian . [EDB] (Law, Tamika) (Entered: 09/07/2021)

                                       16                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (29 pgs)               206A/B) , FIRST AMENDMENT Amended Schedule C: The Property
                                                              You Claimed as Exempt (Official Form 106C) , Amended Schedule I
                                                              Individual: Your Income (Official Form 106I) , Amended Schedule G
                                                              Individual: Executory Contracts and Unexpired Leases (Official Form
                                                              106G or 206G) , Amended Statement of Financial Affairs for Individual
                                                              Filing for Bankruptcy (Official Form 107 or 207) ,Amended Statement of
                                                              Intention for Individuals Filing Under Chapter 7 (Official Form 108) ,
                                                              Amended Statement of Related Cases (LBR Form 1015-2.1) , Amended
                                                              Chapter 7 Statement of Your Current Monthly Income (Official Form
                                                              122A-1) (BNC Option) , Proof of service Filed by Debtor Jamie Lynn
   09/22/2021                                                 Gallian . (Nguyen, Vi) (Entered: 09/22/2021)

                                       17                     Amending Schedules (D) and (E/F) ,Amended List of Creditors (Master
                                       (15 pgs)               Mailing List of Creditors) , Amended Verification of Master Mailing List
                                                              of Creditors (LBR Form F1007-1), Proof of Service. Filed by Debtor
   09/22/2021                                                 Jamie Lynn Gallian . (Nguyen, Vi) (Entered: 09/22/2021)

                                       18                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 10/6/2021 at 01:30 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   09/22/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 09/22/2021)

                                       19                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   09/22/2021                                                 Jeffrey) (Entered: 09/22/2021)

                                                              Receipt of Amendment Filing Fee - $32.00 by 16. Receipt Number
   09/22/2021                                                 80075677. (admin) (Entered: 09/22/2021)

                                       20                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 10/14/2021 at 03:00 PM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   10/07/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 10/07/2021)

                                       21                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   10/07/2021                                                 Jeffrey) (Entered: 10/07/2021)

   10/14/2021                          22                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (31 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Amending Schedules (D) (E/F) , Schedule G
                                                              Individual: Executory Contracts and Unexpired Leases (Official Form
                                                              106G or 206G) , Schedule H Individual: Your Codebtors (Official Form

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                                                              106H or 206H) , Statement of Intention for Individuals Filing Under
                                                              Chapter 7 (Official Form 108) [EDB] Filed by Debtor Jamie Lynn Gallian
                                                              . (Law, Tamika) (Entered: 10/14/2021)

                                       23                     Notice of Deficiency of Filing Fees Required to Add Additional Creditors
                                       (1 pg)                 (BNC) (RE: related document(s)22 Schedule A/B: Property (Official Form
                                                              106A/B or 206A/B) filed by Debtor Jamie Lynn Gallian, Schedule C: The
                                                              Property You Claimed as Exempt (Official Form 106C), Amending
                                                              Schedules D and/or E/F (Official Form 106D, 106E/F, 206D, or 206E/F)
                                                              (Fee), Schedule G: Executory Contracts and Unexpired Leases (Official
                                                              Form 106G or 206G), Schedule H: Your Codebtors (Official Form 106H
                                                              or 206H), Statement of Intention for Individuals Filing Under Chapter 7
   10/14/2021                                                 (Official Form B8, or 108)) (Law, Tamika) (Entered: 10/14/2021)

                                       24                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 11/10/2021 at 03:00 PM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   10/15/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 10/15/2021)

                                       25                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   10/15/2021                                                 Jeffrey) (Entered: 10/15/2021)

                                       26                     BNC Certificate of Notice (RE: related document(s)23 Notice of
                                       (3 pgs)                Deficiency of Filing Fees Required to Add Additional Creditors (BNC))
                                                              No. of Notices: 1. Notice Date 10/16/2021. (Admin.) (Entered:
   10/16/2021                                                 10/16/2021)

                                       27                     Adversary case 8:21-ap-01095. Complaint by The Huntington Beach
                                       (74 pgs; 2 docs)       Gables Homeowners Association against Jamie Lynn Gallian , Randall L
                                                              Nickel . Fee Amount $350 (Attachments: # 1 Adv Cover Sheet) Nature of
                                                              Suit: (41 (Objection / revocation of discharge - 727(c),(d),(e))) ,(21
                                                              (Validity, priority or extent of lien or other interest in property)) ,(62
                                                              (Dischargeability - 523(a)(2), false pretenses, false representation, actual
   10/18/2021                                                 fraud)) (Law, Tamika) (Entered: 10/18/2021)

                                       28                     Adversary case 8:21-ap-01096. Complaint by Janine Jasso against Jamie
                                       (93 pgs; 2 docs)       Lynn Gallian . Fee Amount $350 (Attachments: # 1 Adv Cover Sheet)
                                                              Nature of Suit: (41 (Objection / revocation of discharge - 727(c),(d),(e))) ,
                                                              (65 (Dischargeability - other)) ,(13 (Recovery of money/property - 548
                                                              fraudulent transfer)) ,(62 (Dischargeability - 523(a)(2), false pretenses,
                                                              false representation, actual fraud)) - Original not signed - (Law, Tamika)
   10/18/2021                                                 (Entered: 10/18/2021)

                                       29                     Stipulation By Jeffrey I Golden (TR) and Stipulation to Extend Time to
                                       (3 pgs)                File a Complaint Objecting to Debtors Discharge Pursuant to 11 U.S.C. §
                                                              727 and Federal Rule of Bankruptcy Procedure 4004 (with Proof of
                                                              Service) Filed by Trustee Jeffrey I Golden (TR) (Golden (TR), Jeffrey)
   10/18/2021                                                 (Entered: 10/18/2021)

   10/18/2021                          30                     Adversary case 8:21-ap-01097. Complaint by Houser Bros. Co., a
                                       (25 pgs; 2 docs)       California general partnership against Jamie Lynn Gallian. Fee Amount
                                                              $350 Complaint to (1) Determine Dischargeability of Debt Pursuant to 11
                                                              U.S.C. Sections 523 (a)(2)(A) and (a)(6); (2) Deny Discharge Pursuant to
                                                              11 U.S.C. Sections 727 (a)(2)(A), (a)(4), and (a)(5) (Attachments: # 1
                                                              Adversary Proceeding Cover Sheet) Nature of Suit: (62 (Dischargeability -
                                                              523(a)(2), false pretenses, false representation, actual fraud)),(68

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                                                    182 Filed 08/18/22
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                                                                                         19:12:08                                 Desc
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                                                              (Dischargeability - 523(a)(6), willful and malicious injury)),(65
                                                              (Dischargeability - other)) (Masud, Laila) (Entered: 10/18/2021)

                                       31                     Order Approving Stipulation to Extend Time to File a Complaint
                                       (2 pgs)                Objecting to Debtor's Discharge Pursuant to 11 U.S.C. Section 727 and
                                                              Federal Rule of Bankruptcy Procedure 4004. The Deadline for the Trustee,
                                                              or United States Trustee, to file a Complaint Objecting to the Debtor's
                                                              Discharge under 11 U.S.C. Section 727 is Extended to and Including
                                                              November 17, 2021 (BNC-PDF) (Related Doc # 29 ) Signed on
   10/19/2021                                                 10/19/2021 (Duarte, Tina) (Entered: 10/19/2021)

                                       32                     Debtor's Request to Activate Electronic Noticing (DeBN) Filed by Debtor
   10/20/2021                                                 Jamie Lynn Gallian [EDB] (Law, Tamika) (Entered: 10/20/2021)

                                       33                     BNC Certificate of Notice - PDF Document. (RE: related document(s)31
                                       (4 pgs)                Order on Motion to Extend Time (Generic) (BNC-PDF)) No. of Notices:
   10/21/2021                                                 1. Notice Date 10/21/2021. (Admin.) (Entered: 10/21/2021)

                                       34                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 12/1/2021 at 11:00 AM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   11/10/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 11/10/2021)

                                       35                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   11/10/2021                                                 Jeffrey) (Entered: 11/10/2021)

                                       36                     Declaration by Debtor as to Whether Debtor(s) Received Income From an
                                       (2 pgs)                Employer Within 60 Days of Petition (LBR Form F1002-1) [EDB] Filed
   11/16/2021                                                 by Debtor Jamie Lynn Gallian . (Law, Tamika) (Entered: 11/17/2021)

                                       37                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (26 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Schedule H Individual:
                                                              Your Codebtors (Official Form 106H or 206H) , Amended Schedule I
                                                              Individual: Your Income (Official Form 106I) , Statement of Financial
                                                              Affairs for Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                              Statement of Intention for Individuals Filing Under Chapter 7 (Official
                                                              Form 108) [EDB] Filed by Debtor Jamie Lynn Gallian . (Law, Tamika)
   11/16/2021                                                 (Entered: 11/17/2021)

                                       38                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (23 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Statement of Financial
                                                              Affairs for Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                              Statement of Intention for Individuals Filing Under Chapter 7 (Official
                                                              Form 108) [EDB] Filed by Debtor Jamie Lynn Gallian . (Law, Tamika)
   11/22/2021                                                 (Entered: 11/23/2021)

   11/23/2021                          39                     Amended Schedule A/B Individual: Property (Official Form 106A/B or
                                       (26 pgs)               206A/B) , Amended Schedule C: The Property You Claimed as Exempt
                                                              (Official Form 106C) , Schedule G Individual: Executory Contracts and
                                                              Unexpired Leases (Official Form 106G or 206G) , Statement of Financial
                                                              Affairs for Individual Filing for Bankruptcy (Official Form 107 or 207) ,
                                                              Statement of Intention for Individuals Filing Under Chapter 7 (Official

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                                                              Form 108) [EDB] Filed by Debtor Jamie Lynn Gallian . (Law, Tamika)
                                                              (Entered: 11/23/2021)

                                       40                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 12/15/2021 at 10:00 AM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   12/01/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 12/01/2021)

                                       41                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   12/01/2021                                                 Jeffrey) (Entered: 12/01/2021)

                                       42                     Amending Schedules (D) (E/F) Filed by Debtor Jamie Lynn Gallian .
   12/01/2021                          (15 pgs)               (Law, Tamika) (Entered: 12/01/2021)

                                                              Receipt of Amendment Filing Fee - $32.00 by 08. Receipt Number
                                                              80075783. (admin) Paid in reference to dock #22 (Deficiency Ntc dock
   12/01/2021                                                 #23). Modified on 12/3/2021 (Law, Tamika). (Entered: 12/02/2021)

                                                              Receipt of Amendment Filing Fee - $32.00 by 08. Receipt Number
   12/01/2021                                                 80075784. (admin) (Entered: 12/02/2021)

                                       43                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 1/7/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   12/15/2021                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 12/15/2021)

                                       44                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   12/15/2021                                                 Jeffrey) (Entered: 12/15/2021)

                                       45                     Notice of motion and motion for relief from automatic stay with
                                       (16 pgs)               supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
                                                              Randall I. Nickel vs. The Huntington Beach Gables HOA et al., Superior
                                                              Court of California, County of Orange, Central Justice Center Docket
                                                              Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188, Filed by
                                                              Creditor The Huntington Beach Gables Homeowners Association [NOTE:
                                                              Attorney Michael Poole Notified via voice mail and e-mail to file
                                                              supplemental notice of hearing to be held remotely using Zoomgov audio
   12/22/2021                                                 and video hearing] (Duarte, Tina) (Entered: 12/22/2021)

                                       46                     Memorandum of Points and Authorities in Support of Creditor The
                                       (112 pgs)              Huntington Beach Gables Homeowners Association's Motion for Relief
                                                              from the Automatic Stay; Filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association. [NOTE: Attorney Michael Poole Notified via
                                                              voice mail and e-mail to file supplemental notice of hearing to be held
                                                              remotely using Zoomgov audio and video hearing] (Duarte, Tina)
   12/22/2021                                                 (Entered: 12/22/2021)

                                                              Receipt of Motion Filing Fee - $188.00 by 08. Receipt Number 80075831.
   12/22/2021                                                 (admin) (Entered: 12/22/2021)

   12/29/2021                          47                     Supplemental Notice of Hearing to Be Held Remotely Using Zoomgov
                                       (3 pgs)                Audio and Video, Filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association [Filed by FAX] (RE: related document(s)45
                                                              Notice of motion and motion for relief from automatic stay with
                                                              supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 6/23


                                                                                                        EXHIBIT 1, PAGE 16
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                                                              Randall I. Nickel vs. The Huntington Beach Gables HOA et al., Superior
                                                              Court of California, County of Orange, Central Justice Center Docket
                                                              Number: 30-2020-01163055-CU-OR-CJC . Fee Amount $188, Filed by
                                                              Creditor The Huntington Beach Gables Homeowners Association [NOTE:
                                                              Attorney Michael Poole Notified via voice mail and e-mail to file
                                                              supplemental notice of hearing to be held remotely using Zoomgov audio
                                                              and video hearing] filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association). The Hearing date is set for 1/20/2022 at 10:00
                                                              AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The case judge
                                                              is Erithe A. Smith. NOTE: [NOTE: This document is to be docketed in the
                                                              main bankruptcy case. Attorney Michael Poole Notified via voice mail
                                                              and e-mail to file supplemental notice of hearing to be held remotely using
                                                              Zoomgov audio and video hearing using the correct form for bankruptcy]
                                                              (Duarte, Tina). (Entered: 12/29/2021)

                                       48                     Hearing Set (RE: related document(s)45 Motion for Relief from Stay -
                                                              ACTION IN NON-BANKRUPTCY FORUM filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association). The Hearing date is
                                                              set for 1/20/2022 at 10:00 AM at Crtrm 5A, 411 W Fourth St., Santa Ana,
                                                              CA 92701. The case judge is Erithe A. Smith (Duarte, Tina) (Entered:
   12/29/2021                                                 12/29/2021)

                                       49                     Supplemental Notice of Hearing to be Held Remotely Using Zoomgov
                                       (3 pgs)                Audio and Video; Filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association [By FAX] (RE: related document(s)45 Notice of
                                                              motion and motion for relief from automatic stay with supporting
                                                              declarations ACTION IN NON-BANKRUPTCY FORUM RE: Randall I.
                                                              Nickel vs. The Huntington Beach Gables HOA et al., Superior Court of
                                                              California, County of Orange, Central Justice Center Docket Number: 30-
                                                              2020-01163055-CU-OR-CJC . Fee Amount $188, Filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association [NOTE: Attorney
                                                              Michael Poole Notified via voice mail and e-mail to file supplemental
                                                              notice of hearing to be held remotely using Zoomgov audio and video
                                                              hearing]). The Hearing date is set for 1/20/2022 at 10:00 AM at Crtrm 5A,
                                                              411 W Fourth St., Santa Ana, CA 92701. The case judge is Erithe A.
   01/04/2022                                                 Smith (Duarte, Tina) (Entered: 01/04/2022)

                                       50                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 1/24/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   01/07/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 01/07/2022)

                                       51                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   01/07/2022                                                 Jeffrey) (Entered: 01/07/2022)

   01/14/2022                          52                     Notice of Continuance of Hearing of Creditor The Huntington Beach
                                       (3 pgs)                Gables Homeowners Association's Motion for Relief from the Automatic
                                                              Stay; Filed by Creditor The Huntington Beach Gables Homeowners
                                                              Association [By FAX] (RE: related document(s)45 Notice of motion and
                                                              motion for relief from automatic stay with supporting declarations
                                                              ACTION IN NON-BANKRUPTCY FORUM RE: Randall I. Nickel vs.
                                                              The Huntington Beach Gables HOA et al., Superior Court of California,
                                                              County of Orange, Central Justice Center Docket Number: 30-2020-
                                                              01163055-CU-OR-CJC . Fee Amount $188, Filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association [NOTE: Attorney
                                                              Michael Poole Notified via voice mail and e-mail to file supplemental
                                                              notice of hearing to be held remotely using Zoomgov audio and video
                                                              hearing]). The Hearing date is CONTINUED TO 2/17/2022 at 10:30 AM
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 7/23


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                                                              at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The case judge is
                                                              Erithe A. Smith (Duarte, Tina) (Entered: 01/14/2022)

                                       53                     Supplemental Notice of Hearing to Be Held Remotely Using Zoomgov
                                       (3 pgs)                Audio and Video; Filed by Creditor The Huntington Beach Gables
                                                              Homeowners Association [By FAX] (RE: related document(s)45 Notice of
                                                              motion and motion for relief from automatic stay with supporting
                                                              declarations ACTION IN NON-BANKRUPTCY FORUM RE: Randall I.
                                                              Nickel vs. The Huntington Beach Gables HOA et al., Superior Court of
                                                              California, County of Orange, Central Justice Center Docket Number: 30-
                                                              2020-01163055-CU-OR-CJC . Fee Amount $188, Filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association [NOTE: Attorney
                                                              Michael Poole Notified via voice mail and e-mail to file supplemental
                                                              notice of hearing to be held remotely using Zoomgov audio and video
                                                              hearing]). The Hearing date is set for 2/17/2022 at 10:30 AM at Crtrm 5A,
                                                              411 W Fourth St., Santa Ana, CA 92701. The case judge is Erithe A.
   01/14/2022                                                 Smith (Duarte, Tina) (Entered: 01/14/2022)

                                       56                     Hearing Rescheduled/Continued (RE: related document(s)45 Motion for
                                                              Relief from Stay - ACTION IN NON-BANKRUPTCY FORUM filed by
                                                              Creditor The Huntington Beach Gables Homeowners Association). The
                                                              Hearing is CONTINUED TO 2/17/2022 at 10:30 AM at Crtrm 5A, 411 W
                                                              Fourth St., Santa Ana, CA 92701, Per Hearing Held 1/13/2022. The case
   01/20/2022                                                 judge is Erithe A. Smith (Duarte, Tina) (Entered: 01/25/2022)

                                       54                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 2/14/2022 at 09:00 AM
                                                              at TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   01/24/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 01/24/2022)

                                       55                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   01/24/2022                                                 Jeffrey) (Entered: 01/24/2022)

                                       57                     Notice of Proposed Abandonment of Property of the Estate Trustee's
                                       (8 pgs)                Notice of Intent to Abandon Estate's Interest in an Unscheduled Check,
                                                              With Proof of Service Filed by Trustee Jeffrey I Golden (TR). (DE Leest,
   02/04/2022                                                 Aaron) (Entered: 02/04/2022)

                                       58                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Israel,
   02/04/2022                          (1 pg)                 Eric. (Israel, Eric) (Entered: 02/04/2022)

                                       59                     Notice -Notice of Withdrawal re: Trustee's Notice of Intent to Abandon
                                       (3 pgs)                Estate's Interest in an Unscheduled Check; proof of service Filed by
                                                              Trustee Jeffrey I Golden (TR) (RE: related document(s)57 Notice of
                                                              Proposed Abandonment of Property of the Estate Trustee's Notice of Intent
                                                              to Abandon Estate's Interest in an Unscheduled Check, With Proof of
                                                              Service Filed by Trustee Jeffrey I Golden (TR). (DE Leest, Aaron)). (DE
   02/07/2022                                                 Leest, Aaron) (Entered: 02/07/2022)

                                       60                     Notice of Proposed Abandonment of Property of the Estate -Trustee's
                                       (8 pgs)                Notice of Intent to Abandon Estate's Interest in Debtor's Covid 19 Rent
                                                              Relief Check; proof of service Filed by Trustee Jeffrey I Golden (TR). (DE
   02/11/2022                                                 Leest, Aaron) (Entered: 02/11/2022)

   02/11/2022                          61                     Response to Motion Regarding the Automatic Stay and Declarations In
                                       (115 pgs)              Support; Memorandum of Points and Authorities in Opposition of

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  8/23


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                                                              Creditor The Huntington Beach Gables Homeowners Associations'
                                                              Motion for Relief from the Automatic Stay 'EDB' (related document(s): 45
                                                              Notice of motion and motion for relief from automatic stay with
                                                              supporting declarations ACTION IN NON-BANKRUPTCY FORUM RE:
                                                              Randall I. Nickel vs. The Huntington Beach Gables HOA et al., Superior
                                                              Court of California, County of Orange, Central Justice Cen filed by
                                                              Creditor The Huntington Beach Gables Homeowners Association) Filed
                                                              by Debtor Jamie Lynn Gallian (Le, James) Warning: Item subsequently
                                                              amended by docket entry no:62 Modified on 2/11/2022 (Le, James).
                                                              (Entered: 02/11/2022)

                                       62                     Amended Response to Motion Regarding the Automatic Stay and
                                       (241 pgs)              Declarations In Support; Memorandum of Points and Authorities in
                                                              Opposition of Creditor The Huntington Beach Gables Homeowners
                                                              Associations' Motion for Relief from the Automatic Stay 'EDB'(related
                                                              document(s): 45 Notice of motion and motion for relief from automatic
                                                              stay with supporting declarations ACTION IN NON-BANKRUPTCY
                                                              FORUM RE: Randall I. Nickel vs. The Huntington Beach Gables HOA et
                                                              al., Superior Court of California, County of Orange, Central Justice Cen
                                                              filed by Creditor The Huntington Beach Gables Homeowners Association)
   02/11/2022                                                 Filed by Debtor Jamie Lynn Gallian (Le, James) (Entered: 02/11/2022)

                                       63                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 2/28/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   02/15/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 02/15/2022)

                                       64                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   02/15/2022                                                 Jeffrey) (Entered: 02/15/2022)

                                       65                     Hearing Held (RE: related document(s)45 Motion for Relief from Stay -
                                                              ACTION IN NON-BANKRUPTCY FORUM filed by Creditor The
                                                              Huntington Beach Gables Homeowners Association) - Deny motion
                                                              without prejudice to re-filing the motion if the cause of action for voidable
                                                              transfer is abandoned or deemed abandoned by the chapter 7 trustee
   02/17/2022                                                 pursuant to 11 U.S.C. 554. (Daniels, Sally) (Entered: 02/28/2022)

                                       66                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 3/21/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   02/28/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 02/28/2022)

                                       67                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   02/28/2022                                                 Jeffrey) (Entered: 02/28/2022)

                                       68                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (12 pgs)               1(o)(3)) 60; proof of service Filed by Trustee Jeffrey I Golden (TR). (DE
   03/03/2022                                                 Leest, Aaron) (Entered: 03/03/2022)

                                       69                     Notice of lodgment of Order in Bankruptcy Case; proof of service Filed by
                                       (6 pgs)                Trustee Jeffrey I Golden (TR) (RE: related document(s)60 Notice of
                                                              Proposed Abandonment of Property of the Estate -Trustee's Notice of
                                                              Intent to Abandon Estate's Interest in Debtor's Covid 19 Rent Relief
                                                              Check; proof of service Filed by Trustee Jeffrey I Golden (TR). (DE Leest,
   03/03/2022                                                 Aaron)). (DE Leest, Aaron) (Entered: 03/03/2022)

https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                   9/23


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   03/04/2022                          70                     Order Authorizing Trustee's Abandonment of Estate's Interest in Debtor's
                                       (2 pgs)                Covid 19 Rent Relief Check (BNC-PDF) (Related Doc # 60 ) Signed on
                                                              3/4/2022 (Duarte, Tina) (Entered: 03/04/2022)

                                       71                     BNC Certificate of Notice - PDF Document. (RE: related document(s)70
                                       (4 pgs)                Order on Motion to Abandon (BNC-PDF)) No. of Notices: 0. Notice Date
   03/06/2022                                                 03/06/2022. (Admin.) (Entered: 03/06/2022)

                                       72                     Addendum to voluntary petition , Statement of Related Cases (LBR Form
                                       (64 pgs)               1015-2.1) , Amended Schedule A/B Individual: Property (Official Form
                                                              106A/B or 206A/B) , Amended Schedule C: The Property You Claimed as
                                                              Exempt (Official Form 106C) , Schedule G Individual: Executory
                                                              Contracts and Unexpired Leases (Official Form 106G or 206G) , Schedule
                                                              H Individual: Your Codebtors (Official Form 106H or 206H) , Amended
                                                              Schedule I Individual: Your Income (Official Form 106I) , Declaration
                                                              About an Individual Debtor's Schedules (Official Form 106Dec) ,
                                                              Statement of Financial Affairs for Individual Filing for Bankruptcy
                                                              (Official Form 107 or 207) , Statement of Intention for Individuals Filing
                                                              Under Chapter 7 (Official Form 108) , Chapter 7 Statement of Your
                                                              Current Monthly Income (Official Form 122A-1) (BNC Option) ,
                                                              Verification of Master Mailing List of Creditors (LBR Form F1007-1),
                                                              Proof of service. Verification of Declaration of Homestead filed with
                                                              Orange County Clerk Recorder. Filed by Debtor Jamie Lynn Gallian .
   03/11/2022                                                 (Nguyen, Vi) (Entered: 03/14/2022)

                                       73                     Addendum to voluntary petition to amend Debtor's DBA, Item #11 pg 3,
                                       (11 pgs)               Item #16b pg6. Filed by Debtor Jamie Lynn Gallian . (Nguyen, Vi)
   03/11/2022                                                 (Entered: 03/14/2022)

                                       74                     Document re Verification of Declaration of Homestead. Filed by Debtor
                                       (4 pgs)                Jamie Lynn Gallian (RE: related document(s)72 Addendum to Vol Pet
                                                              filed by Debtor Jamie Lynn Gallian, Statement of Related Cases (LBR
                                                              Form 1015-2.1), Schedule A/B: Property (Official Form 106A/B or
                                                              206A/B), Schedule C: The Property You Claimed as Exempt (Official
                                                              Form 106C), Schedule G: Executory Contracts and Unexpired Leases
                                                              (Official Form 106G or 206G), Schedule H: Your Codebtors (Official
                                                              Form 106H or 206H), Schedule I: Your Income (Official Form 106I),
                                                              Declaration About an Individual Debtor's Schedules (Official Form
                                                              106Dec), Statement of Financial Affairs (Official Form 107 or 207)
                                                              (Official Form 107 or 207), Statement of Intention for Individuals Filing
                                                              Under Chapter 7 (Official Form B8, or 108), Chapter 7 Statement of Your
                                                              Current Monthly Income (Official Form 122A-1) (BNC Option),
                                                              Verification of Master Mailing List of Creditors (LBR F1007-1)) (Nguyen,
   03/11/2022                                                 Vi) (Entered: 03/14/2022)

                                       75                     Amending Schedules (D) and (E/F) Filed by Debtor Jamie Lynn Gallian .
   03/15/2022                          (22 pgs)               (Nguyen, Vi) (Entered: 03/15/2022)

                                                              Receipt of Amendment Filing Fee - $32.00 by 16. Receipt Number
   03/15/2022                                                 80075964. (admin) (Entered: 03/15/2022)

                                       76                     Proof of service of Amended Schedules Filed by Debtor Jamie Lynn
   03/16/2022                          (105 pgs)              Gallian . [EDB] (Law, Tamika) (Entered: 03/16/2022)

                                       77                     Statement of Corporate Ownership -none listed Filed by Debtor Jamie
   03/16/2022                          (8 pgs)                Lynn Gallian . [EDB] (Law, Tamika) (Entered: 03/17/2022)


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   03/21/2022                          78                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 4/4/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
                                                              THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 03/21/2022)

                                       79                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   03/21/2022                                                 Jeffrey) (Entered: 03/21/2022)

                                       80                     Chapter 7 Statement of Your Current Monthly Income (Official Form
                                       (6 pgs)                122A-1) (BNC Option) Filed by Debtor Jamie Lynn Gallian . [EDB]
   03/22/2022                                                 (Law, Tamika) (Entered: 03/23/2022)

                                       81                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 4/11/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   04/04/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 04/04/2022)

                                       82                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   04/04/2022                                                 Jeffrey) (Entered: 04/04/2022)

                                       83                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 4/22/2022 at 03:00 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   04/11/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 04/11/2022)

                                       84                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   04/11/2022                                                 Jeffrey) (Entered: 04/11/2022)

                                       85                     Continuance of Meeting of Creditors (Rule 2003(e)) (Trustee's 341
                                                              Filings) 341(a) Meeting Continued to be held on 4/29/2022 at 01:30 PM at
                                                              TR 7, TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT
   04/26/2022                                                 THE TRUSTEE. (Golden (TR), Jeffrey) (Entered: 04/26/2022)

                                       86                     Notice of continued meeting of creditors and appearance of debtor (11
                                       (1 pg)                 USC 341(a)) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
   04/26/2022                                                 Jeffrey) (Entered: 04/26/2022)

                                       87                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Iskander,
   05/02/2022                          (1 pg)                 Brandon. (Iskander, Brandon) (Entered: 05/02/2022)

                                       88                     Request for courtesy Notice of Electronic Filing (NEF) Filed by Goe,
   05/02/2022                          (1 pg)                 Robert. (Goe, Robert) (Entered: 05/02/2022)

                                       89                     Notice Trustees Notice Of Intent To Abandon Estates Interest In Probate
                                       (6 pgs)                Claims (with Proof of Service) Filed by Trustee Jeffrey I Golden (TR).
   05/02/2022                                                 (Golden (TR), Jeffrey) (Entered: 05/02/2022)

                                       90                     Notice of Assets (no bar date for claims is required) with proof of service
                                       (2 pgs)                Filed by Trustee Jeffrey I Golden (TR). (Golden (TR), Jeffrey) (Entered:
   05/03/2022                                                 05/03/2022)

   05/03/2022                          91                     Meeting of Creditors Held and Concluded (Chapter 7 Asset) Filed by
                                                              Trustee Jeffrey I Golden (TR) (RE: related document(s) 83 Continuance of
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 11/23


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                                                              Meeting of Creditors (Rule 2003(e)) (Trustee's 341 Filings) 341(a)
                                                              Meeting Continued to be held on 4/22/2022 at 03:00 PM at TR 7,
                                                              TELEPHONIC MEETING. FOR INSTRUCTIONS CONTACT THE
                                                              TRUSTEE. (Golden (TR), Jeffrey)). (Golden (TR), Jeffrey) (Entered:
                                                              05/03/2022)

                                       92                     Application to Employ Danning, Gill, Israel & Krasnoff, LLP as General
                                       (38 pgs)               Bankruptcy Counsel Chapter 7 Trustees Notice Of Application And
                                                              Application To Employ Danning, Gill, Israel & Krasnoff, LLP As General
                                                              Bankruptcy Counsel Effective As Of January 27, 2022; Declaration Of
                                                              Eric P. Israel; And Statement Of Disinterestedness, with Proof of Service
   05/11/2022                                                 Filed by Trustee Jeffrey I Golden (TR) (Israel, Eric) (Entered: 05/11/2022)

                                       93                     Notification of Discrepancy of Conclusion of Whether or Not No Asset
                                       (2 pgs)                Case (Claims Bar Dar Date Should Be Required); Filed by Debtor Jamie
                                                              Lynn Gallian [EDB] (RE: related document(s)90 Notice of Assets (no bar
                                                              date for claims is required) filed by Trustee Jeffrey I Golden (TR)) (TD8)
   05/11/2022                                                 (Entered: 05/11/2022)

                                       94                     Amended Schedule I Individual: Your Income (Official Form 106I) ,
                                       (10 pgs)               Amended Schedule J: Your Expenses (Official Form 106J) , Chapter 7
                                                              Statement of Your Current Monthly Income (Official Form 122A-1) (BNC
                                                              Option) , Declaration About an Individual Debtor's Schedules (Official
                                                              Form 106Dec) Filed by Debtor Jamie Lynn Gallian . [EDB] (TL)
   05/12/2022                                                 (Entered: 05/12/2022)

                                       95                      Objection to Homestead Exemption Notice of Motion and Motion
                                       (259 pgs)               Objecting to Debtor's Claimed Homestead Exemption; Memorandum of
                                                               Points and Authorities; Declaration of D. Edward Hays in Support; with
                                                               Proof of Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor Houser
                                                               Bros. Co. dba Rancho Del Rey Mobile Home Estates. (Hays, D)
   05/12/2022                                                  (Entered: 05/12/2022)

                                       96                      Notice Supplemental Notice of Hearing to be Held Remotely Using
                                       (4 pgs)                 Zoomgov Audio and Video; with Proof of Service Filed by Creditor
                                                               Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE:
                                                               related document(s)95 Objection to Homestead Exemption Notice of
                                                               Motion and Motion Objecting to Debtor's Claimed Homestead
                                                               Exemption; Memorandum of Points and Authorities; Declaration of D.
                                                               Edward Hays in Support; with Proof of Service [Hrg. 6/2/22 at 10:30
                                                               a.m.] Filed by Creditor Houser Bros. Co. dba Rancho Del Rey Mobile
   05/12/2022                                                  Home Estates.). (Hays, D) (Entered: 05/12/2022)

                                       97                      Declaration of Debtor RE Postpetition Income and Expenses as of the
                                       (31 pgs)                Following Date 05/11/2022 Filed by Debtor Jamie Lynn Gallian . [EDB]
   05/12/2022                                                  (TL) . (Entered: 05/13/2022)

                                       99                      Hearing Set (related document # 95 Motion Objecting to Debtor's
                                                               Claimed Homestead Exemption filed by Creditor Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates). The Hearing date is set for
                                                               6/2/2022 at 10:30 AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA
   05/12/2022                                                  92701. The case judge is Erithe A. Smith (TD8) (Entered: 05/13/2022)

   05/13/2022                          98                      Statement The Huntington Beach Gables Homeowners Associations
                                       (3 pgs)                 Joinder To Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
                                                               Motion Objecting To Debtors Claimed Homestead Exemption with proof
                                                               of service Filed by Creditor The Huntington Beach Gables Homeowners
                                                               Association. (Goe, Robert) (Entered: 05/13/2022)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                12/23


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                                       100                     Janine Jasso's Joinder to Houser Bros. Co. dba Rancho Del Rey Mobile
                                       (2 pgs)                 Home Estates' Motion Objecting to Debtor's Claimed Homestead
                                                               Exemption Filed by Creditor Janine Jasso 'EDB' (RE: related
                                                               document(s)95 Objection to Homestead Exemption filed by Creditor
                                                               Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates) (JL)
   05/16/2022                                                  (Entered: 05/16/2022)

                                                               Receipt of Motion Filing Fee - $188.00 by 16. Receipt Number
   05/26/2022                                                  80076089. (admin) (Entered: 05/26/2022)

                                       101                     Motion Confirming That No Stay is in effect for Criminal Restitution
                                       (317 pgs; 4 docs)       Case, or, If an Automatic Stay Exists, then for Relief from Stay . Fee
                                                               Amount $188, Filed by Creditor Janine Jasso (Attachments: # 1 2 of 4
   05/26/2022                                                  Motion # 2 3 of 4 Motion # 3 4 of 4 Motion) (AM) (Entered: 05/27/2022)

                                       103                     Notice of motion/application Filed by Creditor Janine Jasso (RE: related
                                       (2 pgs)                 document(s)101 Motion Confirming That No Stay is in effect for
                                                               Criminal Restitution Case, or, If an Automatic Stay Exists, then for
                                                               Relief from Stay . Fee Amount $188, Filed by Creditor Janine Jasso
                                                               (Attachments: # 1 2 of 4 Motion # 2 3 of 4 Motion # 3 4 of 4 Motion)
   05/26/2022                                                  (AM)). (AM) (Entered: 05/27/2022)

                                       102                     Hearing Set (RE: related document(s)101 Motion for Relief - Order
                                                               Confirming Termination of Stay or That no Stay is in Effect filed by
                                                               Creditor Janine Jasso) The Hearing date is set for 6/16/2022 at 10:00 AM
                                                               at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The case judge is
   05/27/2022                                                  Erithe A. Smith (AM) (Entered: 05/27/2022)

                                       104                     Supplemental Notice of Hearing To Be Held Remotely Using Zoomgov
                                       (3 pgs)                 Audio and Video Filed by Creditor Janine Jasso (RE: related
                                                               document(s)101 Motion Confirming That No Stay is in effect for
                                                               Criminal Restitution Case, or, If an Automatic Stay Exists, then for
                                                               Relief from Stay . Fee Amount $188, Filed by Creditor Janine Jasso
                                                               (Attachments: # 1 2 of 4 Motion # 2 3 of 4 Motion # 3 4 of 4 Motion)
                                                               (AM)). The Hearing date is set for 6/16/2022 at 10:00 AM at Crtrm 5A,
                                                               411 W Fourth St., Santa Ana, CA 92701. The case judge is Erithe A.
   05/27/2022                                                  Smith [EDB] (AM) (Entered: 05/27/2022)

                                       105                     Debtors Reply Opposition, Memorandum of Points and Authorities to
                                       (361 pgs; 2 docs)       Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates' Motion
                                                               Objecting to Debtor's Claimed Homestead Exemption and Joinder Parties
                                                               Huntington Beach Gables HOA; Janine Jasso (related document(s): 95
                                                               Objection to Homestead Exemption filed by Creditor Houser Bros. Co.
                                                               dba Rancho Del Rey Mobile Home Estates), Filed by Debtor Jamie Lynn
                                                               Gallian [EDB] (TD8) Additional attachment(s) added on 6/1/2022
   06/01/2022                                                  (TD8). (Entered: 06/01/2022)

                                       106                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (43 pgs)                1(o)(3)) with Proof of Service Filed by Trustee Jeffrey I Golden (TR)
                                                               (RE: related document(s)92 Application to Employ Danning, Gill, Israel
                                                               & Krasnoff, LLP as General Bankruptcy Counsel Chapter 7 Trustees
                                                               Notice Of Application And Application To Employ Danning, Gill, Israel
                                                               & Krasnoff, LLP As General Bankruptcy Counsel Effective As Of
   06/01/2022                                                  January 2). (Israel, Eric) (Entered: 06/01/2022)

   06/01/2022                          107                     Declaration That No Party Requested a Hearing on Motion (LBR 9013-
                                       (10 pgs)                1(o)(3)) Declaration that No Party Requested a Hearing on Trustees
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                               13/23


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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                               Notice Of Intent To Abandon Estates Interest In Probate Claims (with
                                                               Proof of Service) Filed by Trustee Jeffrey I Golden (TR). (Golden (TR),
                                                               Jeffrey) (Entered: 06/01/2022)

                                       108                     Order Granting Chapter 7 Trustee's Application to Employ Danning, Gill,
                                       (2 pgs)                 Israel & Krasnoff, LLP as his General Bankruptcy Counsel [Doc. No. 92]
                                                               (BNC-PDF) (Related Doc # 92) Signed on 6/1/2022. (TD8) (Entered:
   06/01/2022                                                  06/01/2022)

                                       109                     Order Authorizing Trustee's Abandonment of Estate's Interest in Probate
                                       (2 pgs)                 Claims (BNC-PDF) (Related Doc # 89 ) Signed on 6/1/2022 (TD8)
   06/01/2022                                                  (Entered: 06/01/2022)

                                       111                     Opposition to Chapter 7 Trustee's (related document(s): 92 Application to
                                       (29 pgs)                Employ Danning, Gill, Israel & Krasnoff, LLP as General Bankruptcy
                                                               Counsel Chapter 7 Trustees Notice Of Application And Application To
                                                               Employ Danning, Gill, Israel & Krasnoff, LLP As General Bankruptcy
                                                               Counsel Effective As Of January 2 filed by Trustee Jeffrey I Golden
                                                               (TR)); Filed by Debtor Jamie Lynn Gallian [Request for Hearing] [EDB]
   06/01/2022                                                  (Filed at 9:33 pm) (TD8). (Entered: 06/02/2022)

                                       110                     Opposition to (related document(s): 101 Notice of Motion and Motion in
                                       (8 pgs)                 Individual Case for Order Confirming Termination of Stay under 11
                                                               U.S.C. 362(j) or That No Stay is in Effect under 11 U.S.C. 362(c)(4)(A)
                                                               (ii). Fee Amount $188, filed by Creditor Janine Jasso) -Trustee's Notice
                                                               of Opposition and Opposition to Motion Confirming that No Stay is in
                                                               Effect for Criminal Restitution Case, or, if an Automatic Stay Exists, then
                                                               for Relief from Stay filed by Creditor Janine Jasso; Memorandum of
                                                               Points and Authorities in Support Thereof; proof of service Filed by
   06/02/2022                                                  Trustee Jeffrey I Golden (TR) (DE Leest, Aaron) (Entered: 06/02/2022)

                                       112                     Debtor's Notice of Opposition and Opposition to Motion Confirming that
                                       (39 pgs)                No Stay is in Effect for Criminal Restitution Case, or, if an Automatic
                                                               Stay Exists, Then for Relief from Stay filed by Interested Party Janine
                                                               Jasso (related document(s): 101 Notice of Motion and Motion in
                                                               Individual Case for Order Confirming Termination of Stay under 11
                                                               U.S.C. 362(j) or That No Stay is in Effect under 11 U.S.C. 362(c)(4)(A)
                                                               (ii). Fee Amount $188, filed by Creditor Janine Jasso) Filed by Debtor
   06/02/2022                                                  Jamie Lynn Gallian 'EDB' (JL) (Entered: 06/03/2022)

                                       113                     Hearing Rescheduled/Continued (related document # 95 Creditor Houser
                                                               Bros. Co. dba Rancho Del Rey Mobile Home Estates Motion Objecting
                                                               to Debtor's Claimed Homestead Exemption). The Hearing is
                                                               CONTINUED TO 7/21/2022 at 10:30 AM at Crtrm 5A, 411 W Fourth
                                                               St., Santa Ana, CA 92701 to allow Movant/Joining Parties to file a reply
                                                               to Debtor's late opposition filed on June 1, 2022, which reply(ies) must
                                                               be filed by July 7, 2022. No other pleadings may be filed. The case judge
   06/02/2022                                                  is Erithe A. Smith (TD8) (Entered: 06/03/2022)

                                       114                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)108 Order on Application to Employ (BNC-PDF)) No. of
   06/03/2022                                                  Notices: 0. Notice Date 06/03/2022. (Admin.) (Entered: 06/03/2022)

   06/03/2022                          116                     Amended Motion Confirming That No Stay is in effect for Criminal
                                       (322 pgs)               Restitution Case, or, If an Automatic Stay Exists, then for Relief from
                                                               Stay (Updated Proof of Service) 'EDB' (related document(s): 101 Notice
                                                               of Motion and Motion in Individual Case for Order Confirming
                                                               Termination of Stay under 11 U.S.C. 362(j) or That No Stay is in Effect
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 14/23


                                                                                                        EXHIBIT 1, PAGE 24
     Case 8:21-bk-11710-ES                     Doc 190 Filed 08/18/22 Entered 08/18/22 10:18:59                               Desc
                                                Main Document    Page 27 of 42
8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                               under 11 U.S.C. 362(c)(4)(A)(ii). Fee Amount $188, filed by Creditor
                                                               Janine Jasso) Filed by Creditor Janine Jasso (JL) (Entered: 06/06/2022)

                                       117                     Amended Supplemental Notice of Hearing To Be Held Remotely Using
                                       (8 pgs)                 Zoomgov Audio and Video Filed by Creditor Janine Jasso (Updated
                                                               Proof of Service) 'EDB' (RE: related document(s)104) (Filed by Creditor
   06/03/2022                                                  Janine Jasso . (JL) (Entered: 06/06/2022)

                                       115                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)109 Order on Motion to Abandon (BNC-PDF)) No. of
   06/04/2022                                                  Notices: 0. Notice Date 06/04/2022. (Admin.) (Entered: 06/04/2022)

                                       118                     Reply to Trustee's and Debtor's Opposition to Motion Confirming that
                                       (23 pgs)                No Stay is in Effect for Criminal Restitution Case, or, if an Automatic
                                                               Stay Exists, Then for Relief From Stay (related document(s): 110
                                                               Opposition filed by Trustee Jeffrey I Golden (TR), 112 Opposition filed
                                                               by Debtor Jamie Lynn Gallian) Filed by Creditor Janine Jasso 'EDB' (JL)
                                                               NOTE: Filed with incorrect caption and lists adversary number; this
                                                               document belongs in the main bankruptcy case 8:21-bk-11710-ES.
   06/09/2022                                                  Modified on 6/10/2022 (TD8). (Entered: 06/09/2022)

                                       119                     Notice of lodgment Filed by Creditor Houser Bros. Co. dba Rancho Del
                                       (9 pgs)                 Rey Mobile Home Estates (RE: related document(s)95 Objection to
                                                               Homestead Exemption Notice of Motion and Motion Objecting to
                                                               Debtor's Claimed Homestead Exemption; Memorandum of Points and
                                                               Authorities; Declaration of D. Edward Hays in Support; with Proof of
                                                               Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor Houser Bros. Co.
                                                               dba Rancho Del Rey Mobile Home Estates.). (Hays, D) (Entered:
   06/09/2022                                                  06/09/2022)

                                       120                     Amended Notice of lodgment, Filed by Debtor Jamie Lynn Gallian
                                       (8 pgs)                 [EDB] (RE: related document(s)95 Objection to Homestead Exemption).
   06/10/2022                                                  (TD8) (Entered: 06/10/2022)

                                       121                     Notice of Lodgment Filed by Debtor Jamie Lynn Gallian 'EDB' (RE:
                                       (8 pgs)                 related document(s)95 Objection to Homestead Exemption). (JL)
   06/10/2022                                                  (Entered: 06/13/2022)

                                       123                     Hearing Held (RE: related document(s)101 Motion for Relief - Order
                                                               Confirming Termination of Stay or That no Stay is in Effect filed by
                                                               Creditor Janine Jasso) Motion Denied Without Prejudice. (JL) (Entered:
   06/16/2022                                                  06/22/2022)

                                       122                     Notice of lodgment, Filed by Creditor Janine Jasso [EDB] (RE: related
                                       (8 pgs)                 document(s)101 Notice of Motion and Motion in Individual Case for
                                                               Order Confirming Termination of Stay under 11 U.S.C. 362(j) or That No
                                                               Stay is in Effect under 11 U.S.C. 362(c)(4)(A)(ii). Fee Amount $188,).
   06/17/2022                                                  (TD8). (Entered: 06/21/2022)

                                       124                     Order Continuing Hearing on Motion Objecting to Debtor's Claimed
                                       (5 pgs)                 Homestead Exemption. IT IS ORDERED that: The Hearing on the
                                                               Motion is CONTINUED TO July 21, 2022, at 10:30 a.m. to Allow
                                                               Houser Bros and/or the Joining Parties to File a Reply/Replies to
                                                               Debtor's Late Opposition filed on June 1, 2022 (See Order for Further
                                                               Ruling) (BNC-PDF) (Related Doc # 95 ) Signed on 6/23/2022 (TD8)
   06/23/2022                                                  (Entered: 06/23/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                  15/23


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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
   06/25/2022                          125                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (7 pgs)                 document(s)124 Order on Generic Motion (BNC-PDF)) No. of Notices:
                                                               0. Notice Date 06/25/2022. (Admin.) (Entered: 06/25/2022)

                                       126                     Order Denying Motion for Relief from the Automatic Stay Under 11
                                       (2 pgs)                 U.S.C. Section 362 (BNC-PDF) Signed on 6/27/2022 (RE: related
                                                               document(s)101 Motion for Relief - Order Confirming Termination of
                                                               Stay or That no Stay is in Effect filed by Creditor Janine Jasso). (TD8)
   06/27/2022                                                  (Entered: 06/27/2022)

                                       127                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (4 pgs)                 document(s)126 Order (Generic) (BNC-PDF)) No. of Notices: 0. Notice
   06/29/2022                                                  Date 06/29/2022. (Admin.) (Entered: 06/29/2022)

                                       128                     Statement -Trustee's Joinder in Houser Bros. Co. dba Rancho Del Rey
                                       (4 pgs)                 Mobile Home Estates' Motion Objecting to Debtor's Claimed Homestead
                                                               Exemption; proof of service 95 Filed by Trustee Jeffrey I Golden (TR).
   06/30/2022                                                  (DE Leest, Aaron) (Entered: 06/30/2022)

                                       129                     Reply to (related document(s): 105 Reply filed by Debtor Jamie Lynn
                                       (5 pgs)                 Gallian) The Huntington Beach Gables Homeowners Association's Reply
                                                               to Debtor's Opposition to Motion Objecting to Debtor's Claimed
                                                               Homestead Exemption with Proof of Service Filed by Creditor The
                                                               Huntington Beach Gables Homeowners Association (Goe, Robert)
   07/07/2022                                                  (Entered: 07/07/2022)

                                       130                     Reply to (related document(s): 105 Reply filed by Debtor Jamie Lynn
                                       (96 pgs)                Gallian) Reply to Debtor's Opposition to Motion Objecting to Claimed
                                                               Homestead Exemption; Declaration of D. Edward Hays in Support; with
                                                               Proof of Service Filed by Creditor Houser Bros. Co. dba Rancho Del Rey
   07/07/2022                                                  Mobile Home Estates (Hays, D) (Entered: 07/07/2022)

                                       131                     Declaration re: Declaration of Vivienne J. Alston re: Motion Objecting to
                                       (4 pgs)                 Debtor's Claimed Homestead Exemption; with Proof of Service Filed by
                                                               Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
   07/07/2022                                                  (RE: related document(s)130 Reply). (Hays, D) (Entered: 07/07/2022)

                                       132                     Declaration re: Declaration of Greg Buysman re: Motion Objecting to
                                       (62 pgs)                Debtor's Claimed Homestead Exemption; with Proof of Service Filed by
                                                               Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
   07/07/2022                                                  (RE: related document(s)130 Reply). (Hays, D) (Entered: 07/07/2022)

                                       133                     Declaration re: Declaration of Chris Houser re: Motion Objecting to
                                       (4 pgs)                 Debtor's Claimed Homestead Exemption; with Proof of Service Filed by
                                                               Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates
   07/07/2022                                                  (RE: related document(s)130 Reply). (Hays, D) (Entered: 07/07/2022)

                                       134                     Reply to Greg Buysman, CA Notary Public Commission Number
                                       (13 pgs)                2341449; Owner & Operator the UPS Store, Edinger/Springdage (related
                                                               document(s): 95 Objection to Homestead Exemption filed by Creditor
                                                               Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates) Filed by
   07/08/2022                                                  Debtor Jamie Lynn Gallian [EDB] (AM) (Entered: 07/08/2022)

   07/08/2022                          135                     Motion to Avoid Lien (Real Property) with The Huntington Beach
                                       (224 pgs; 6 docs)       Gables Homeowners Association Filed by Debtor Jamie Lynn Gallian
                                                               [EDB] (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4) (AM) Modified on


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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                               7/8/2022 (AM). Additional attachment(s) added on 7/8/2022 (TL).
                                                               (Entered: 07/08/2022)

                                       136                     Notice of Opportunity to Request a Hearing On Motion Filed by Debtor
                                       (228 pgs; 7 docs)       Jamie Lynn Gallian . [EDB] (AM) Modified on 7/8/2022 (AM) (RE:
                                                               related document(s)135 Motion to Avoid Lien Property Lien with The
                                                               Huntington Beach Gables Homeowners Association). Additional
                                                               attachment(s) added on 7/11/2022 (TL). Modified on 7/11/2022 (TL).
   07/08/2022                                                  (Entered: 07/08/2022)

                                       137                     Motion to Avoid Lien Real Property with The Huntington Beach Gables
                                                               Homeowners Association Filed by Debtor Jamie Lynn Gallian
                                                               (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4 # 4 Part 5 # 5 Part 6) [EDB]
                                                               (AM) Modified on 7/8/2022 (AM). Docketed in error. Motion
                                                               terminated. See docket entry 135 for correct Motion. Modified on
   07/08/2022                                                  7/11/2022 (TL). (Entered: 07/08/2022)

                                       138                     Notice of Lodgment of Excerpts of Certified Transcript in Support of
                                       (20 pgs)                Reply to Debtor's Opposition to Motion Objecting to Claimed Homestead
                                                               Exemption; with Proof of Service Filed by Creditor Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates (RE: related document(s)130
                                                               Reply to (related document(s): 105 Reply filed by Debtor Jamie Lynn
                                                               Gallian) Reply to Debtor's Opposition to Motion Objecting to Claimed
                                                               Homestead Exemption; Declaration of D. Edward Hays in Support; with
                                                               Proof of Service Filed by Creditor Houser Bros. Co. dba Rancho Del Rey
   07/20/2022                                                  Mobile Home Estates). (Hays, D) (Entered: 07/20/2022)

                                       139                     Notice of Lodgment of Orange County Tax Assessors Proof of Debtors
                                       (6 pgs)                 Homestead Exemption Effective 2/25/2021 in Support of Opposition to
                                                               Motion Objecting to Claimed Homestead Exemption, Filed by Debtor
                                                               Jamie Lynn Gallian [EDB] (RE: related document(s)95 Objection to
   07/21/2022                                                  Homestead Exemption). (TD8) (Entered: 07/21/2022)

                                       140                     Amended Notice of Lodgment of Orange County Tax Assessors Proof of
                                       (33 pgs)                Debtors Homestead Exemption Effective 2/25/2021 in Support of
                                                               Opposition to Motion Objecting to Claimed Homestead Exemption Filed
                                                               by Debtor Jamie Lynn Gallian 'EDB' (RE: related document(s)130 Reply
                                                               to (related document(s): 105 Reply filed by Debtor Jamie Lynn Gallian)
                                                               Reply to Debtor's Opposition to Motion Objecting to Claimed Homestead
                                                               Exemption; Declaration of D. Edward Hays in Support; with Proof of
                                                               Service Filed by Creditor Houser Bros. Co. dba Rancho Del Rey Mobile
                                                               Home Estates, 139 Notice of Lodgment of Orange County Tax Assessors
                                                               Proof of Debtors Homestead Exemption Effective 2/25/2021 in Support
                                                               of Opposition to Motion Objecting to Claimed Homestead Exemption,
                                                               Filed by Debtor Jamie Lynn Gallian [EDB] (RE: related document(s)95
   07/21/2022                                                  Objection to Homestead Exemption). (TD8)). (JL) (Entered: 07/21/2022)

                                       143                     Notice of Appeal and Statement of Election to Bankruptcy Appellate
                                       (6 pgs)                 Panel.(Official Form 417A) . Fee Amount $298 NOT PAID Filed by
                                                               Debtor Jamie Lynn Gallian . Appellant Designation due by 8/4/2022.
   07/21/2022                                                  (NB8) (Entered: 07/22/2022)

                                       153                     Hearing Held (related document # 95 Creditor Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates Motion Objecting to Debtor's
                                                               Claimed Homestead Exemption) - Motion Granted objecting to Debtor's
   07/21/2022                                                  homestead exemption claim. (TD8) (Entered: 07/25/2022)

   07/22/2022                          141                     Opposition to (related document(s): 135 Motion to Avoid Lien Property
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                17/23


                                                                                                        EXHIBIT 1, PAGE 27
     Case 8:21-bk-11710-ES                      Doc 190 Filed 08/18/22 Entered 08/18/22 10:18:59                               Desc
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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                       (63 pgs)                Lien with The Huntington Beach Gables Homeowners Association filed
                                                               by Debtor Jamie Lynn Gallian, 136 Notice of motion/application filed by
                                                               Debtor Jamie Lynn Gallian, 137 Motion to Avoid Lien Real Property
                                                               with The Huntington Beach Gables Homeowners Association filed by
                                                               Debtor Jamie Lynn Gallian) Omnibus Opposition to Debtor's Notice of
                                                               Motion and Motion to Avoid Lien Under 11 U.S.C. § 522(f) and Request
                                                               for Hearing; Declaration of Robert P. Goe in Support Thereof; Notice of
                                                               Opposition and Request for a Hearing with Proof of Service Filed by
                                                               Creditor The Huntington Beach Gables Homeowners Association (Goe,
                                                               Robert) (Entered: 07/22/2022)

                                       142                     Notice of Assets filed by trustee and court's notice of possible dividend
                                       (3 pgs; 2 docs)         (BNC) with proof of service Filed by Trustee Jeffrey I Golden (TR).
                                                               Proofs of Claims due by 10/25/2022. Government Proof of Claim due by
   07/22/2022                                                  1/5/2022. (Golden (TR), Jeffrey) (Entered: 07/22/2022)

                                       144                     Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                       (1 pg)                  Reasons: $298.00 Filing Fee For Appeal Was Not Paid; Does Not
                                                               Include The Entered Date Of Order, Judgment, Or Decree; Does Not
                                                               Include Entered Stamped Copy Of Order, Judgment, Or Decree; Does
                                                               Not Include the Telephone Number(s) Of The Opposing Parties (RE:
                                                               related document(s)143 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (NB8)
   07/22/2022                                                  (Entered: 07/22/2022)

                                       145                     Request for a Certified Copy Fee Amount $11. The document will be
                                                               sent via email to :gestrada@wgllp.com: Filed by Trustee Jeffrey I Golden
                                                               (TR) (RE: related document(s)1 Voluntary Petition (Chapter 7)). (Golden
   07/22/2022                                                  (TR), Jeffrey) (Entered: 07/22/2022)

                                                               Receipt of Request for a Certified Copy( 8:21-bk-11710-ES)
                                                               [misc,paycert] ( 11.00) Filing Fee. Receipt number AXXXXXXXX. Fee
   07/22/2022                                                  amount 11.00. (re: Doc# 145 ) (U.S. Treasury) (Entered: 07/22/2022)

                                       146                     Transcript Order Form related to an Appeal, regarding Hearing Date
                                       (1 pg)                  07/21/2022 at 10:30 a.m. Filed by Debtor Jamie Lynn Gallian [EDB]
                                                               (RE: related document(s)95 Objection to Homestead Exemption). (TD8)
   07/22/2022                                                  (Entered: 07/22/2022)

                                       147                     Amended Motion (related document(s): 135 Motion to Avoid Lien
                                       (269 pgs; 2 docs)       Property Lien with The Huntington Beach Gables Homeowners
                                                               Association filed by Debtor Jamie Lynn Gallian) Filed by Debtor Jamie
                                                               Lynn Gallian [EDB] (Attachments: # 1 Part 2) (TD8) (Entered:
   07/22/2022                                                  07/22/2022)

                                       148                     Notice of Opportunity To Request a Hearing On Motion (LBR 9013-
                                       (273 pgs; 3 docs)       1(o)) Filed by Debtor Jamie Lynn Gallian [EDB] (RE: related
                                                               document(s)135 Motion to Avoid Lien (Real Property) with The
                                                               Huntington Beach Gables Homeowners Association Filed by Debtor
                                                               Jamie Lynn Gallian [EDB] (Attachments: # 1 Part 2 # 2 Part 3 # 3 Part 4)
                                                               (AM) Modified on 7/8/2022 (AM). Additional attachment(s) added on
                                                               7/8/2022 (TL)., 147 Amended Motion (related document(s): 135 Motion
                                                               to Avoid Lien Property Lien with The Huntington Beach Gables
                                                               Homeowners Association filed by Debtor Jamie Lynn Gallian) Filed by
                                                               Debtor Jamie Lynn Gallian [EDB] (Attachments: # 1 Part 2) (TD8)).
                                                               (Attachments: # 1 Part 2 - Amended Motion # 2 Part 3 - Declaration)
   07/22/2022                                                  (TD8) (Entered: 07/22/2022)


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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
   07/22/2022                          149                     Certified Copy Emailed to gestrada@wgllp.com (Entered: 07/22/2022)

                                       150                     Notice of lodgment Filed by Creditor Houser Bros. Co. dba Rancho Del
                                       (16 pgs)                Rey Mobile Home Estates (RE: related document(s)95 Objection to
                                                               Homestead Exemption Notice of Motion and Motion Objecting to
                                                               Debtor's Claimed Homestead Exemption; Memorandum of Points and
                                                               Authorities; Declaration of D. Edward Hays in Support; with Proof of
                                                               Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by Creditor Houser Bros. Co.
                                                               dba Rancho Del Rey Mobile Home Estates.). (Hays, D) (Entered:
   07/22/2022                                                  07/22/2022)

                                       151                     BNC Certificate of Notice (RE: related document(s)142 Notice of Assets
                                       (5 pgs)                 filed by trustee and court's notice of possible dividend (BNC) filed by
                                                               Trustee Jeffrey I Golden (TR)) No. of Notices: 75. Notice Date
   07/24/2022                                                  07/24/2022. (Admin.) (Entered: 07/24/2022)

                                       152                     Transcript Record Transmittal (Court transcript records have been
                                                               uploaded to FDS). For Order Number: 22-ES-22. RE Hearing Date:
                                                               07/21/22, [TRANSCRIPTION SERVICE PROVIDER: ECHO
                                                               REPORTING, INC., Telephone number Ph: (858) 453-7590.] (RE:
                                                               related document(s)146 Transcript Order Form (Public Request) filed by
   07/25/2022                                                  Debtor Jamie Lynn Gallian) (JL) (Entered: 07/25/2022)

                                       154                     Opposition to (related document(s): 135 Motion to Avoid Lien Property
                                       (61 pgs)                Lien with The Huntington Beach Gables Homeowners Association filed
                                                               by Debtor Jamie Lynn Gallian, 136 Notice of motion/application filed by
                                                               Debtor Jamie Lynn Gallian, 137 Motion to Avoid Lien Real Property
                                                               with The Huntington Beach Gables Homeowners Association filed by
                                                               Debtor Jamie Lynn Gallian) 141 Amended Omnibus Opposition to
                                                               Debtor's Notice of Motion and Motion to Avoid Lien Under 11 U.S.C. §
                                                               522(f) and Request for Hearing; Declaration of Robert P. Goe in Support
                                                               Thereof with Proof of Service Filed by Creditor The Huntington Beach
                                                               Gables Homeowners Association (Iskander, Brandon) (Entered:
   07/25/2022                                                  07/25/2022)

                                       155                     Opposition to (related document(s): 135 Motion to Avoid Lien Property
                                       (63 pgs)                Lien with The Huntington Beach Gables Homeowners Association filed
                                                               by Debtor Jamie Lynn Gallian, 136 Notice of motion/application filed by
                                                               Debtor Jamie Lynn Gallian, 137 Motion to Avoid Lien Real Property
                                                               with The Huntington Beach Gables Homeowners Association filed by
                                                               Debtor Jamie Lynn Gallian) 141[154 filer error] Amended Omnibus
                                                               Opposition to Debtor's Notice of Motion and Motion to Avoid Lien Under
                                                               11 U.S.C. § 522(f) and Request for Hearing; Declaration of Robert P.
                                                               Goe in Support Thereof; Notice of Opposition and Request for a Hearing
                                                               with Proof of Service Filed by Creditor The Huntington Beach Gables
   07/25/2022                                                  Homeowners Association (Goe, Robert) (Entered: 07/25/2022)

                                       156                     Notice of lodgment (Amended) Notice of Lodgment Filed by Creditor
                                       (16 pgs)                Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE:
                                                               related document(s)150 Notice of lodgment Filed by Creditor Houser
                                                               Bros. Co. dba Rancho Del Rey Mobile Home Estates (RE: related
                                                               document(s)95 Objection to Homestead Exemption Notice of Motion and
                                                               Motion Objecting to Debtor's Claimed Homestead Exemption;
                                                               Memorandum of Points and Authorities; Declaration of D. Edward Hays
                                                               in Support; with Proof of Service [Hrg. 6/2/22 at 10:30 a.m.] Filed by
                                                               Creditor Houser Bros. Co. dba Rancho Del Rey Mobile Home Estates.).).
   07/26/2022                                                  (Hays, D) (Entered: 07/26/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                             19/23


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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
   07/26/2022                          157                     Debtor's Notice of and Motion for Reconsideration of 7.21.22 Order
                                       (332 pgs; 2 docs)       Sustaining Houser Bros. Co. DBA Rancho Del Rey Mobile Home
                                                               Estates Objection to Debtor's Claimed Homestead Exemption and
                                                               Joinder Parties Huntington Beach Gables HOA; Janine Jasso. Filed by
                                                               Debtor Jamie Lynn Gallian (Attachments: # 1 Part 2) 'EDB' (RE: related
                                                               document(s)95) (JL) (Entered: 07/26/2022)

                                       158                     Supplemental Notice of Hearing to be Held Remotely Using
                                       (4 pgs)                 ZOOMGOV Audio and Video Filed by Debtor Jamie Lynn Gallian 'EDB'
                                                               (RE: related document(s)157 Debtor's Notice of and Motion for
                                                               Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. DBA
                                                               Rancho Del Rey Mobile Home Estates Objection to Debtor's Claimed
                                                               Homestead Exemption and Joinder Parties Huntington Beach Gables
                                                               HOA; Janine Jasso. Filed by Debtor Jamie Lynn Gallian (Attachments: #
                                                               1 Part 2) 'EDB' (RE: related document(s)95) (JL)). (JL) (Entered:
   07/26/2022                                                  07/26/2022)

                                       159                     Hearing Set (RE: related document(s)157 Motion to Reconsider filed by
                                                               Debtor Jamie Lynn Gallian) The Hearing date is set for 8/18/2022 at
                                                               10:30 AM at Crtrm 5A, 411 W Fourth St., Santa Ana, CA 92701. The
   07/26/2022                                                  case judge is Erithe A. Smith (JL) (Entered: 07/26/2022)

                                       160                     Trustee Certification of Services Rendered Under 11 U.S.C. Section
                                                               330(e). I rendered the following service in the case and am eligible for
                                                               payment under 11 U.S.C. Section 330(e): Filed a Notice of Assets. I
                                                               declare under penalty of perjury that the foregoing is true and correct.
                                                               (Executed on 7/28/2022). Filed by Trustee Jeffrey I Golden (TR) (RE:
                                                               related document(s)90 Notice of Assets (no bar date for claims is
                                                               required) with proof of service Filed by Trustee Jeffrey I Golden (TR).
                                                               (Golden (TR), Jeffrey) filed by Trustee Jeffrey I Golden (TR)). (Golden
   07/28/2022                                                  (TR), Jeffrey) (Entered: 07/28/2022)

                                       161                     Notice Of Appeal And Statement of Election To Bankruptcy Appellate
                                       (12 pgs)                Panel.(Official Form 417A) . Fee Amount $298 NOT PAID Filed by
                                                               Debtor Jamie Lynn Gallian. Appellant Designation due by 8/11/2022. -
                                                               [EDB] - APPEAL FEE OF $298 PAID 7/29/2022 - RECEIPT NO.
   07/28/2022                                                  80076183 (NB8) Modified on 7/29/2022 (NB8). (Entered: 07/28/2022)

                                       162                     Application to Employ Coldwell Banker Realty as Real Estate Broker
                                       (25 pgs)                Application Of The Chapter 7 Trustee To Employ Real Estate Broker
                                                               Coldwell Banker Realty And Agents William Friedman And Greg
                                                               Bingham Pursuant To 11 U.S.C. §§ 327 And 328; Memorandum Of
                                                               Points And Authorities; And Declarations Of William Friedman And
                                                               Greg Bingham In Support (with Proof of Service) Filed by Trustee
                                                               Jeffrey I Golden (TR) (Golden (TR), Jeffrey) - WARNING: See docket
                                                               entry no. 166 for corrections - Modified on 7/29/2022 (TD8). (Entered:
   07/28/2022                                                  07/28/2022)

   07/28/2022                          163                     Notice of Hearing Application Of The Chapter 7 Trustee To Employ Real
                                       (5 pgs)                 Estate Broker Coldwell Banker Realty And Agents William Friedman
                                                               And Greg Bingham Pursuant To 11 U.S.C. §§ 327 And 328;
                                                               Memorandum Of Points And Authorities; And Declarations Of William
                                                               Friedman And Greg Bingham In Support (with Proof of Service) Filed by
                                                               Trustee Jeffrey I Golden (TR) (RE: related document(s)162 Application
                                                               to Employ Coldwell Banker Realty as Real Estate Broker Application Of
                                                               The Chapter 7 Trustee To Employ Real Estate Broker Coldwell Banker
                                                               Realty And Agents William Friedman And Greg Bingham Pursuant To 11
                                                               U.S.C. §§ 327 And 328; Memorandum Of Points And Authorities; And
                                                               Declarations Of William Friedman And Greg Bingham In Support (with
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 20/23


                                                                                                        EXHIBIT 1, PAGE 30
     Case 8:21-bk-11710-ES                      Doc 190
                                                    182 Filed 08/18/22
                                                              08/09/22 Entered 08/18/22
                                                                                08/09/22 10:18:59
                                                                                         19:12:08                             Desc
                                                 Main Document    Page 33 of 42
                                                                             46
8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)
                                                               Proof of Service) Filed by Trustee Jeffrey I Golden (TR) (Golden (TR),
                                                               Jeffrey)). (Golden (TR), Jeffrey) - WARNING: See docket entry no. 166
                                                               for corrections - Modified on 7/29/2022 (TD8). (Entered: 07/28/2022)

                                       164                     Supplemental Supplemental Notice Of Hearing To Be Held Remotely
                                       (4 pgs)                 Using Zoomgov Audio And Video (with Proof of Service) Filed by Trustee
                                                               Jeffrey I Golden (TR). (Golden (TR), Jeffrey) - WARNING: See docket
                                                               entry no. 166 for corrections - Modified on 7/29/2022 (TD8). (Entered:
   07/28/2022                                                  07/28/2022)

                                       165                     Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                       (1 pg)                  Reasons: $298.00 Filing Fee For Appeal Was Not Paid And Does Not
                                                               Include Entered Stamped Copy Of Order, Judgment, Or Decree (RE:
                                                               related document(s)161 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (NB8)
   07/28/2022                                                  (Entered: 07/28/2022)

                                                               Receipt of Appeal Late Filing Fee - $0.00 by 12. Receipt Number
   07/28/2022                                                  80076180. (admin) (Entered: 07/28/2022)

                                                               Receipt of Appeal Late Noticing Filing Fee - $0.00 by 12. Receipt
   07/28/2022                                                  Number 80076180. (admin) (Entered: 07/28/2022)

                                       166                     Notice to Filer of Error and/or Deficient Document Hearing date/time
                                                               selected is no longer available. THE FILER IS INSTRUCTED TO
                                                               CONTACT JUDGE SMITH'S COURTROOM DEPUTY FOR AN
                                                               AVAILABLE HEARING DATE/TIME AND SUBSEQUENTLY
                                                               FILE AN AMENDED NOTICE OF MOTION/HEARING WITH
                                                               THE CORRECT HEARING INFORMATION. (RE: related
                                                               document(s)162 Application to Employ filed by Trustee Jeffrey I Golden
                                                               (TR), 163 Notice of Hearing (BK Case) filed by Trustee Jeffrey I Golden
                                                               (TR), 164 Supplemental filed by Trustee Jeffrey I Golden (TR)) (TD8)
   07/29/2022                                                  (Entered: 07/29/2022)

                                                               Receipt of Appeal Late Noticing Filing Fee - $5.00 by 16. Receipt
   07/29/2022                                                  Number 80076183. (admin) (Entered: 07/29/2022)

                                                               Receipt of Appeal Late Filing Fee - $293.00 by 16. Receipt Number
   07/29/2022                                                  80076183. (admin) (Entered: 07/29/2022)

                                       167                     Notice of Motion Motion For Leave From The Bankruptcy Appeal Panel
                                       (160 pgs; 2 docs)       To Permit The Bankruptcy Court To Consider Debtor's Motion For Re-
                                                               Consideration [Doc 157] On August 18, 2022 Filed by Debtor Jamie
                                                               Lynn Gallian (Attachments: # 1 Motion For Reconsideration) (GD)
   08/01/2022                                                  [EDB] Modified on 8/1/2022 (GD). (Entered: 08/01/2022)

                                       168                     Optional Appellee Statement of Election to Proceed in U.S. District
                                       (4 pgs)                 Court (Official Form 417B) Filed by Creditor Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates (RE: related document(s)143
                                                               Notice of Appeal and Statement of Election (Official Form 417A), 161
                                                               Notice of Appeal and Statement of Election (Official Form 417A)).
   08/02/2022                                                  (Masud, Laila) (Entered: 08/02/2022)

   08/04/2022                          169                     Notice Of Appeal And Statement Of Election To Bankruptcy Appellate
                                       (4 pgs)                 Panel (Official Form 417A) . Fee Amount $298 NOT PAID Filed by
                                                               Debtor Jamie Lynn Gallian . Appellant Designation due by 8/18/2022.
                                                               [EDB] (NB8) (Entered: 08/04/2022)
https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                21/23


                                                                                                        EXHIBIT 1, PAGE 31
     Case 8:21-bk-11710-ES                      Doc 190 Filed 08/18/22 Entered 08/18/22 10:18:59                               Desc
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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)


                                       170                     Response to (related document(s): 157 Motion to Reconsider filed by
                                       (58 pgs)                Debtor Jamie Lynn Gallian) Response to Debtor's Notice of and Motion
                                                               for Reconsideration of 7-21-22 Order Sustaining Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estates Objection to Debtor's Claimed
                                                               Homestead Exemption; Declaration of D. Edward Hays in Support; with
                                                               Proof of Service Filed by Creditor Houser Bros. Co. dba Rancho Del Rey
   08/04/2022                                                  Mobile Home Estates (Hays, D) (Entered: 08/04/2022)

                                       171                     Statement - Trustee's Joinder in Houser Bros. Co. dba Rancho Del Rey
                                       (4 pgs)                 Mobile Home Estates' Response to Debtor's Notice of and Motion for
                                                               Reconsideration of 7.21.22 Order Sustaining Houser Bros. Co. dba
                                                               Rancho Del Rey Mobile Home Estate's Objection to Debtor's Claimed
                                                               Homestead Exemption; proof of service Filed by Trustee Jeffrey I Golden
   08/04/2022                                                  (TR). (DE Leest, Aaron) (Entered: 08/04/2022)

                                       172                     Substitution of attorney , Proof of service Filed by Debtor Jamie Lynn
   08/04/2022                          (4 pgs)                 Gallian. (Briones, Bert) (Entered: 08/04/2022)

                                       173                     Statement The Huntington Beach Gables Homeowners Association's
                                       (4 pgs)                 Joinder to House Bros. Co. dba Rancho del Rey Mobile Home Estates'
                                                               Response to Debtor's Motion for Reconsideration with Proof of Service
                                                               Filed by Creditor The Huntington Beach Gables Homeowners
                                                               Association. (Goe, Robert). Related document(s) 157 Motion to
                                                               Reconsider filed by Debtor Jamie Lynn Gallian. Modified on 8/5/2022
   08/04/2022                                                  (JL). (Entered: 08/04/2022)

                                       174                     Deficiency letter to Appellant: Appeal Is Deficient For the Following
                                       (1 pg)                  Reasons: $298.00 Filing Fee For Appeal Was Not Paid; The Notice Of
                                                               Appeal Does Not Conform Substantially With The Notice Of Appeal
                                                               And Statement Of Election (Official Form 417A: Does Not Include The
                                                               Title Of Order, Judgment, Or Decree; Does Not Include The Entered
                                                               Date Of Order, Judgment, Or Decree; Does Not Include Entered Stamped
                                                               Copy Of Order, Judgment, Or Decree; related document(s)169 Notice of
                                                               Appeal and Statement of Election; (RE: al Form 417A) filed by Debtor
   08/04/2022                                                  Jamie Lynn Gallian) (NB8) (Entered: 08/04/2022)

                                       175                     Notice Of Referral Of Appeal To United States Bankruptcy Appellate
                                       (185 pgs; 6 docs)       Panel Of The Ninth Circuit (BAP) with certificate of mailing (RE:
                                                               related document(s)161 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (Attachments:
                                                               # 1 Notice of Appeal and Statement of Election # 2 Notice of Motion and
                                                               Motion for Leave From the Bankruptcy Appellate Panel to Permit the
                                                               Bankruptcy Court to Consider Debtor's Motion for Re-consideration
                                                               (Doc 157) on August 18, 2022 # 3 Notice of Transcript(s) Designated for
                                                               an Appeal # 4 Transcript Order Form # 5 Amended Order Continuing
                                                               The Bankruptcy Appellant Panel Of The Ninth Circuit) (NB8) (Entered:
   08/04/2022                                                  08/04/2022)

                                       176                     Notice Of Referral Of Appeal To United States Bankruptcy Appellate
                                       (17 pgs; 5 docs)        Panel Of The Ninth Circuit (BAP) with certificate of mailing (RE:
                                                               related document(s)169 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (Attachments:
                                                               # 1 Notice of Appeal and Statement of Election # 2 Notice of Transcripts
                                                               Designated for An Appeal # 3 Transcript Order Form # 4 Amended
                                                               Order Continuing the Bankruptcy Appellant Panel of the Ninth Circuit)
   08/04/2022                                                  (NB8) (Entered: 08/04/2022)


https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 22/23


                                                                                                        EXHIBIT 1, PAGE 32
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8/9/22, 3:31 PM                                               CM/ECF - U.S. Bankruptcy Court (NG 1.6.3 - LIVE)

   08/04/2022                                                  Receipt of Appeal Late Filing Fee - $0.00 by 12. Receipt Number
                                                               80076190. (admin) (Entered: 08/04/2022)

                                                               Receipt of Appeal Late Noticing Filing Fee - $0.00 by 12. Receipt
   08/04/2022                                                  Number 80076190. (admin) (Entered: 08/04/2022)

                                       177                     Order Granting Houser Bros. Co. dba Rancho Del Rey Mobile Home
                                       (12 pgs)                Estate's Motion Objecting to Debtor's Claimed Homestead Exemption in
                                                               16222 Monterey Lane, Space #376, Huntington Beach, CA 92649,
                                                               Docket No. 95 (BNC-PDF) (Related Doc # 95 ) Signed on 8/5/2022 (JL)
   08/05/2022                                                  (Entered: 08/05/2022)

                                       178                     Opposition to (related document(s): 147 Amended Motion (related
                                       (63 pgs)                document(s): 135 Motion to Avoid Lien Property Lien with The
                                                               Huntington Beach Gables Homeowners Association filed by Debtor
                                                               Jamie Lynn Gallian) filed by Debtor Jamie Lynn Gallian) Opposition to
                                                               Debtor's Amended Notice of Motion and Motion to Avoid Lien Under 11
                                                               U.S.C. § 522(f) and Request for Hearing; Declaration of Robert P. Goe
                                                               in Support Thereof; Notice of Opposition and Request for a Hearing with
                                                               Proof of Service Filed by Creditor The Huntington Beach Gables
   08/05/2022                                                  Homeowners Association (Goe, Robert) (Entered: 08/05/2022)

                                       179                     BNC Certificate of Notice - PDF Document. (RE: related
                                       (14 pgs)                document(s)177 Order RE: Objection to Debtor's Claim of Exemptions
                                                               (BNC-PDF)) No. of Notices: 0. Notice Date 08/07/2022. (Admin.)
   08/07/2022                                                  (Entered: 08/07/2022)

                                       180                     Appeal transferred notice from BAP to USDC CC-22-1149 on 8/03/2022
                                       (1 pg)                  (RE: related document(s)161 Notice of Appeal and Statement of Election
                                                               (Official Form 417A) filed by Debtor Jamie Lynn Gallian) (GD)
   08/08/2022                                                  Modified on 8/8/2022 (GD). (Entered: 08/08/2022)

                                       181                     Substitution of attorney , Proof of service Filed by Debtor Jamie Lynn
   08/08/2022                          (4 pgs)                 Gallian. (Briones, Bert) (Entered: 08/08/2022)




                                                        PACER Service Center
                                                             Transaction Receipt
                                                               08/09/2022 15:31:25
                                   PACER                     Client
                                                  atty107291              9999-001
                                   Login:                    Code:
                                                                         8:21-bk-11710-ES Fil or Ent: filed
                                                                         From: 5/11/2000 To: 8/9/2022 Doc
                                                  Docket       Search
                                   Description:                          From: 0 Doc To: 99999999 Term:
                                                  Report       Criteria:
                                                                         included Format: html Page counts
                                                                         for documents: included
                                   Billable
                                                  19           Cost:      1.90
                                   Pages:




https://ecf.cacb.uscourts.gov/cgi-bin/DktRpt.pl?520319984557279-L_1_0-1                                                                 23/23


                                                                                                        EXHIBIT 1, PAGE 33
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                                                      EXHIBIT 2
       Case 8:21-bk-11710-ES                         Doc 190 Filed 08/18/22 Entered 08/18/22 10:18:59                            Desc
                                                      Main Document    Page 37 of 42
8/9/22, 3:42 PM                                                                   22-1146 Docket


                                                                     General Docket
                                                   U. S. Bankruptcy Appellate Panel for the Ninth Circuit
  Bankruptcy Appellate Panel Docket #: 22-1146                                                                         Docketed: 07/22/2022
  Jamie Gallian v. Houser Bros. Co., et al
  Appeal From: California Central - Santa Ana
  Fee Status: fee paid

  Case Type Information:
    1) Bankruptcy
    2) Chapter 7 Non-Business
    3) null

  Originating Court Information:
     District: 0973-8 : 8:21-bk-11710-ES
     Presiding Judge: Erithe A. Smith, U.S. Bankruptcy Judge
     Date Filed: 07/09/2021
     Date NOA Filed:                                                            Date Rec'd BAP:
     07/21/2022                                                                 07/22/2022

  Prior Cases:
     None

  Current Cases:
                             Lead                   Member             Start               End
       Related
                             22-1146                22-1149            07/28/2022
                             22-1146                22-1155            08/05/2022

  Panel Assignment:                Not available



  In re: JAMIE LYNN GALLIAN
               Debtor
  ------------------------------

  JAMIE LYNN GALLIAN                                                           Jamie Lynn Gallian
            Appellant                                                          Direct: 714-321-3449
                                                                               [NTC Pro Se]
                                                                               Unit 376
                                                                               16222 Monterey Lane
                                                                               Huntington Beach, CA 92649
  v.

  HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates                     David Edward Hays, Esquire, Counsel
           Appellee                                                            Direct: 949-333-7777
                                                                               [COR LD NTC Retained]
                                                                               Marshack Hays LLP
                                                                               870 Roosevelt Avenue
                                                                               Irvine, CA 92620

  JEFFREY IAN GOLDEN, Trustee                                                  Aaron E. DE Leest
            Appellee                                                           Direct: 310-277-0077
                                                                               [COR LD NTC Retained]
                                                                               Danning, Gill, Israel & Krasnoff, LLP
                                                                               Suite 450
                                                                               1901 Avenue of the Stars
                                                                               Los Angeles, CA 90067-2904

                                                                               Eric P. Israel, Attorney
                                                                               Direct: 310-277-0077
                                                                               [COR LD NTC Retained]
                                                                               Danning, Gill, Israel & Krasnoff, LLP
                                                                               Suite 450
                                                                               1901 Avenue of the Stars
                                                                               Los Angeles, CA 90067-2904


https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom                                                                                1/4


                                                                                                          EXHIBIT 2, PAGE 34
       Case 8:21-bk-11710-ES                   Doc 190 Filed 08/18/22 Entered 08/18/22 10:18:59   Desc
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8/9/22, 3:42 PM                                                 22-1146 Docket

  In re: JAMIE LYNN GALLIAN

                   Debtor

  ------------------------------

  JAMIE LYNN GALLIAN

                   Appellant

  v.

  HOUSER BROS. CO., dba Rancho Del Rey Mobile Home Estates; JEFFREY IAN GOLDEN, Trustee

                   Appellees




https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom                                               2/4


                                                                                  EXHIBIT 2, PAGE 35
     Case 8:21-bk-11710-ES                       Doc 190 Filed 08/18/22 Entered 08/18/22 10:18:59                                  Desc
                                                  Main Document    Page 39 of 42
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  07/22/2022           1             Received notice of appeal filed in Bankruptcy Court on 07/21/2022. (PI) [Entered: 08/02/2022 01:27 PM]
                  6 pg, 2.79 MB

  08/02/2022           2             Filed Party Jamie Lynn Gallian's Motion to Allow Reconsideration Motion to Proceed at Bankruptcy Court.;
                  160 pg, 14.54 MB   filed in bankruptcy court 8/1/22. (PI) [Entered: 08/02/2022 04:39 PM]




https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom                                                                                      3/4


                                                                                                      EXHIBIT 2, PAGE 36
     Case 8:21-bk-11710-ES                     Doc 190 Filed 08/18/22 Entered 08/18/22 10:18:59                   Desc
                                                Main Document    Page 40 of 42
8/9/22, 3:42 PM                                                              22-1146 Docket

  Clear All

     Documents and Docket Summary
     Documents Only

     Include Page Numbers

Selected Pages: 0                     Selected Size: 0 KB

  View Selected



                                                         PACER Service Center
                                                               Transaction Receipt
                                                  BAP for the Ninth Circuit - 08/09/2022 15:42:51
                             PACER Login:            atty107291                Client Code:         9999-001
                             Description:            Docket Report (full)      Search Criteria:     22-1146
                             Billable Pages:         1                         Cost:                0.10




https://ecf.ca9.uscourts.gov/bn/beam/servlet/TransportRoom                                                               4/4


                                                                                                    EXHIBIT 2, PAGE 37
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                                                   Main Document    Page 41 of 42



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
5801 SKYLAB ROAD HUNTINGTON BEACH, CA 92649

A TRUE AND CORRECT COPY OF THE FOREGOING DOCUMENT ENTITLED: REPLY TO OPPOSITION AND
REQUEST FOR HEARING ON DEBTOR’S MOTION FOR LEAVE FROM THE BANKRUPTCY APPEAL
PANEL TO PERMIT THE BANKRUPTCY COURT TO CONSIDER DEBTOR’S MOTION FOR
RECONSIDERATION; DECLARATION OF JAMIE LYNN GALLIAN IN SUPPORT
 will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August
17, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On August 9, 2022, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                                                                                              Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL: Pursuant to
F.R.Civ.P. 5 and/or controlling LBR, on        , I served the following persons and/or entities by personal delivery, overnight
mail service, or (for those who consented in writing to such service method), by facsimile transmission and/or email as
follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.

PURSUANT TO THE COURTROOM POLICIES AND PROCEDURES OF THE HONORABLE ERITHE A. SMITH,
COURTROOM 5A, §VIII. JUDGES’ OR COURTESY COPIES, EXCEPT FOR DOCUMENTS 200 PAGES OR OVER,
INCLUDING EXHIBITS, JUDGE SMITH DOES NOT REQUIRE JUDGES’ COPIES.

                                                                                              Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.




 August 17, 2022                          ROBERT MCLELLAND
 Date                                     Printed Name                                           Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
          Case 8:21-bk-11710-ES                     Doc 190 Filed 08/18/22 Entered 08/18/22 10:18:59                                      Desc
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): CONTINUED:
     ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Aaron E DE Leest adeleest@DanningGill.com,
      danninggill@gmail.com; adeleest@ecf.inforuptcy.com
     ATTORNEY FOR INTERESTED PARTY AND PLAINTIFF THE HUNTINGTON BEACH GABLES
      HOMEOWNERS ASSOCIATION: Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;
      goeforecf@gmail.com
     TRUSTEE JEFFREY I GOLDEN (TR): Jeffrey I Golden (TR lwerner@wgllp.com, jig@trustesolutions.net;
      kadele@wgllp.com
     ATTORNEY FOR INTERESTED PARTY AND PLAINTIFF HOUSER BROS. CO.: D Edward Hays
      ehays@marshackhays.com, ehays@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com;
      cmendoza@marshackhays.com;       cmendoza@ecf.courtdrive.com

    ATTORNEY FOR INTERESTED PARTY and PLAINTIFF THE HUNTINGTON BEACH GABLES
     HOMEOWNERS ASSOCIATION: Brandon J Iskander biskander@goeforlaw.com, kmurphy@goeforlaw.com
    ATTORNEY FOR TRUSTEE JEFFREY I GOLDEN (TR): Eric P Israel eisrael@DanningGill.com,
     danninggill@gmail.com; eisrael@ecf.inforuptcy.com
    ATTORNEY FOR INTERESTED PARTYAND PLAINTIFF HOUSER BROS. CO.: Laila Masud
     lmasud@marshackhays.com,
     lmasud@ecf.courtdrive.com; kfrederick@ecf.courtdrive.com
    ATTORNEY FOR DEFENDANT RANDALL L NICKEL: Mark A Mellor mail@mellorlawfirm.com,
     mellormr79158@notify.bestcase.com
    INTERESTED PARTY COURTESY NEF: Valerie Smith claims@recoverycorp.com
    U.S. TRUSTEE: United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov




              This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


  June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
